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                 EXHIBIT 1
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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



STATE OF CALIFORNIA, et al.

            Plaintiffs,

      v.                                           Case No. 1:25-cv-10548

U.S. DEPARTMENT OF EDUCATION, et al.,

            Defendants.




                          DECLARATION OF DENISE BARTON




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                           DECLARATION OF DENISE BARTON

       I, Denise Barton, declare as follows:

       1.      I am a resident of the Commonwealth of Massachusetts. I am over the age of 18.

I have been an attorney since 1994 and am licensed to practice in the Commonwealth of

Massachusetts. If called as a witness, I could and would testify competently to the matters set

forth below.

       2.      I am currently employed by the University of Massachusetts, in its Office of the

General Counsel, as its Chief Deputy General Counsel.

       3.      As Chief Deputy General Counsel for the University of Massachusetts, I have

personal knowledge of the matters set forth below or have knowledge of the matters based on my

review of information and records provided to me by University of Massachusetts employees

and believe that information to be true.

       4.      The University of Massachusetts includes its five campuses (the University of

Massachusetts Amherst, the University of Massachusetts Boston, the University of

Massachusetts Chan Medical School, the University of Massachusetts Dartmouth, and the

University of Massachusetts Lowell), as well as the University of Massachusetts Office of the

President. See M.G.L. ch. 75. The University of Massachusetts maintains business records in

the ordinary course of University of Massachusetts business which include, inter alia, records

concerning federal research and training grants from the Department of Education (“ED”).

       5.      In February 2022, the Department of Education’s Office of Elementary and

Secondary Education (“the Department”) invited applications for the Teacher Quality

Partnership (“TQP”) Program, Assistance Listing Number 84.336S.




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       6.      The purposes of the TQP program are to improve student achievement; improve

the quality of prospective and new teachers by improving the preparation of prospective teachers

and enhancing professional development activities for new teachers; hold teacher preparation

programs at institutions of higher education accountable for preparing teachers who meet

applicable State certification and licensure requirements; and recruit highly qualified individuals,

including individuals of color and individuals from other occupations, into the teaching force.

       7.      The TQP program requires “eligible partnerships” as defined in Section 200(6) of

the Higher Education Act of 1965, as amended (“HEA”). The eligible partnership must include

one or more high-need local educational agencies; one or more high-need schools or consortium

of high-need schools served by the high-need Local Education Agencies (“LEA”); a partner

institution; a school, department, or program of education within such partner institution; and a

school or department of arts and science within such partner institution. By supporting eligible

partnerships, the Department committed to, among other things, strengthening teacher pipelines,

addressing shortages, increasing the number of teachers, and fostering the growth of teachers.

       8.      As set out in its grant proposal, the University of Massachusetts Amherst

(“UMass Amherst”) intended to use the TQP grant to address teacher shortages and to improve

the quality of teachers in high-needs schools by preparing paraeducators to become licensed

Early Childhood Education (“ECE”) teachers through a high quality, accessible, and affordable

online program at UMass Amherst. For the eligible partnership, the UMass Amherst College of

Education collaborated with the UMass Amherst University Without Walls (“UWW”), which is

an online degree completion program, and two high-needs school districts, Holyoke and

Springfield, both of which have been impacted by teacher shortages and by State receivership

due to low student performance on state tests.



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       9.      UMass Amherst’s TQP grant proposal, entitled “Para-to-Teacher Program (“PtT”)

for Early Childhood Education (ECE) Licensure in Massachusetts (PreK-2),” was approved in

July 2023 (Project No. S336S230018). Exhibit A. The total amount of the award is $2,294,738

and it is distributed over a period of 5 years, as follows: Year 1 distribution (10/01/2023 -

9/30/2024; $262,933), Year 2 distribution (10/01/2024 - 9/30/2025; $234,827), Year 3

distribution (10/01/2025 - 9/30/2026; $574,375), Year 4 distribution (10/01/2026 - 9/30/2027;

$680,079), and Year 5 distribution (10/01/2027 - 9/30/2028; $542,524).

       10.     On July 27, 2023, the Department issued to UMass Amherst a Grant Award

Notification (“GAN”) setting forth the terms and conditions of the grant award. Exhibit A. As

set forth in Exhibit A, termination of the grant by the Department is permitted only if a recipient

or subrecipient: (1) “materially fails to comply with any term of an award” (GAN Attachment 5);

or (2) engages in violations of human trafficking (GAN Attachment 8).

       11.     Since October 1, 2023, UMass Amherst has, at all times, used the TQP grant

funds in a manner fully consistent with the Department’s statements regarding the nature of the

grant and UMass Amherst’s grant application.

       12.     In Year 1 of the 5-year grant (10/1/2023 - 9/30/2024), the PtT team developed

systems of enhanced collaboration between UMass Amherst and the partner school districts

(Holyoke and Springfield) to market the program, recruit paraeducators, build an advising and

support system, and convert the current ECE program of study into twelve courses to be offered

in the more accessible and less expensive online format. The grant funded faculty members,

staff members, and graduate assistants at UMass Amherst and personnel from the partner school

districts to undertake these tasks. Eleven paraeducators enrolled in the program and started

taking courses in Year 1. Additionally in Year 1, summer professional development workshops



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were offered for current teachers who could be potential mentor teachers for paraeducators in the

partner schools. The grant provided funding for the UMass Amherst faculty member and the

district partner who co-facilitated the workshops, as well as the twenty-two participating teachers

in the workshops.

       13.     In Year 2 (10/1/2024 - 9/30/2025), with an additional eight paraeducators

enrolled, a total of nineteen paraeducators have participated in the PtT program. UMass Amherst

faculty members, staff from various offices (e.g., Education Technology, Educator Licensure

Office, and UWW), and graduate assistants support the paraeducators and the operation of the

program. Personnel from the partner schools also have been collaborating for recruitment,

advising, practicum placement, curriculum development, and support for the Massachusetts state

tests for educator licensure. With additional paraeducators having applied for or expressed

interest in the PtT program for the following year (Year 3), the PtT team is on track to meet the

goal of recruiting thirty-five paraeducators for the upcoming grant periods.

       14.     The Year 2 budget for the award was approved in October 2024. However,

because of the Department’s abrupt termination notification, sent and effective on February 12,

2025, the committed grant funds remaining for Year 2 ($180,018.12) for significant deliverables,

such as graduate assistant employment, project manager expenses, professional development

staff stipends, faculty summer salaries, veteran teacher supervision honorariums, and district

mentors, which were already scheduled for the current fiscal year (Year 2) cannot be expended

by UMass Amherst.

       15.     UMass Amherst has timely complied with all aspects of this grant to date and

every one of its obligations concerning it. There is a cadence to the grant process tasks, all of

which UMass Amherst has timely met including, but not limited to, quarterly meetings between



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the Department and UMass Amherst, submission of interim performance reports, and submission

of budget summaries, analyses, narratives and reconciliations, as described below. The

Department has never once raised a concern even arguably related to the predicates stated in

their February 12, 2025 cancellation notice. Exhibit C; see also ¶¶ 18-19, below. The course of

communication between the Department and UMass Amherst during the life of this grant

concerning UMass Amherst’s obligations relating to it clearly underscores and supports that not

only did the Department fail to raise a single concern arguably implicating their wavering

February 12, 2025 termination letter’s “pick one, any one” predicate, it makes crystal clear that

UMass Amherst met each and every one of its obligations and milestones under the terms of the

grant. For example:

               a.     UMass Amherst received an initial notification of award and a GAN from

       ED on July 27, 2023. Exhibit A. Each year of the 5-year TQP grant runs from October 1

       through September 30. This TQP grant started on October 1, 2023. The initial meeting

       for the TQP grant was held in early November 2023 and was attended by all

       grantees. The focus of the meeting was to review the Project Plan and the Logic Model,

       in accord with the grant’s requirements. Also, in accord with the grant’s requirements,

       subsequent to the first meeting, UMass Amherst attended a four hour workshop and then

       worked on Logic Frame and program outline documents which UMass Amherst

       submitted to the Department on or about November 29, 2023.

               b.     UMass Amherst and the Department held a first year (“Y1”) first quarter

       (“Q1”) meeting on December 14, 2023.

               c.     UMass Amherst and the Department held a Y1 second quarter (“Q2”)

       meeting in approximately March/April, 2024. Subsequent to that Y1-Q2 meeting, UMass



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 Amherst submitted an interim project report (“IPR”) and budget document to the

 Department via email on April 19, 2024. The Department responded to UMass Amherst

 on May 6, 2024 to let them know that they could not open the attachments to UMass

 Amherst’s April 19, 2024 email and, on May 7, 2024, UMass Amherst resent those

 documents to the Department.

         d.     On June 20, 2024, the Department sent UMass Amherst an email to set a

 Y1 third quarter (“Q3”) meeting, which was held shortly thereafter, to discuss the IPR

 and budget that UMass Amherst had originally submitted to the Department on April 19,

 2024.

         e.     On August 21, 2024, the Department sent UMass Amherst an email

 stating: “This is to notify you that a continuation award has been made for your grant,

 S336S230018.” UMass then received a new Grant Award Notification (GAN) for fiscal

 year 2025. Exhibit B. The second year (“Y2”) of the TQP grant began on October 1,

 2024. On October 16, 2024, UMass Amherst received an email from the Effective

 Educator Development Division (“EED”) office of Elementary and Secondary Education

 indicating that there would be a group meeting to go through the documents that needed

 for Y2 budgets.

         f.     In late October/early November, 2024, UMass Amherst received an email

 from the Department requesting submission, by November 22, 2024, of the TQP Data

 Verification Sheet (“DVS”) which functions to provide the Department with an update on

 performance data and budget information set forth in the IPR (timely submitted by

 UMass Amherst to the Department, see ¶ 15(c) above) that incorporates the second half

 of the reporting period and summarizes the entire reporting period (Oct 1, 2023 - Sep 30,



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 2024). The IPR and the DVS together constitute the Annual Performance Report

 (“APR”).

        g.     In early November 2024, UMass Amherst submitted the requested

 documents, in advance of the November 22, 2024 deadline, and received a responsive

 email from the Department, on November 13, 2024, correcting the form the Department

 wanted UMass Amherst to use for its submission.

        h.     The following day, on November 14, 2024, and still in advance of the

 Department’s due date, UMass Amherst resubmitted the forms it had already submitted

 to the Department but using the corrected form that the Department had provided the

 previous day. On December 6, 2024, UMass Amherst responded to the Department’s

 email and resent updated budget forms with the changes the Department had requested on

 December 4, 2024.

        i.     On January 16, 2025, UMass Amherst received the following email from

 the Department that stated, in part, “We are looking forward to working with you in 2025

 to continue the great work that you have begun around teacher preparation.”

        j.     On February 11, 2025, UMass Amherst received the following email from

 EED:

        From: EED TA <EED-TA@aemcorp.com>
        Date: Tuesday, February 11, 2025 at 3:05 PM
        To: EED TA <EED-TA@aemcorp.com>
        Subject: 2025 EED Grantee Summit - Complete Individual Registration
        Hello!
        An EED Project Director has identified you as an attendee at the 2025 EED
        Annual Grantee Summit at the Hyatt Regency Crystal City in Arlington, VA. The
        event is Thursday, June 12, 8:30 to 5:00 pm and Friday, June 13, 8:30 am to 5:00
        pm. Please do the following to ensure you are ready in June:
        Step 1: Provide your name tag information and emergency contact information
        via Smartsheet.

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       Step 2: Book your hotel room using this unique Hyatt link. Grantees are
       responsible for covering their own travel and hotel costs.
       We look forward to seeing you at the 2025 EED Grantee Summit in the
       Washington, DC area! Please email eed-ta@aemcorp.com if you have any
       questions.
       Best,
       Emily Fishkin
       Effective Educator Development TA Center

       k.     On February 12, 2025, UMass Amherst received the following email from

 the Department at 11:08 am ET:

       From: diana.schneider@ed.gov <diana.schneider@ed.gov>
       Date: Wednesday, February 12, 2025 at 11:08 AM
       To: @umass.edu
       Cc: Schneider, Diana <Diana.Schneider@ed.gov>
       Subject: G5 Notification - Administrative Action (GAN) S336S230018
       Dear Grantee:

       This e-mail notifies you that your administrative action request has been reviewed
       and completed. You may access your electronically signed Grant Award
       Notification (GAN) documents for this administrative action, S336S230018 &
       GAN action number 5,
       at https://nam10.safelinks.protection.outlook.com/?url=http%3A%2F%2Fwww.g
       5.gov%2F&data=05%7C02%7Cbjbell%40umass.edu%7C23a719919cc34cccb8b
       008dd4b7f8a5c%7C7bd08b0b33954dc194bbd0b2e56a497f%7C0%7C0%7C6387
       49733344871748%7CUnknown%7CTWFpbGZsb3d8eyJFbXB0eU1hcGkiOnRy
       dWUsIlYiOiIwLjAuMDAwMCIsIlAiOiJXaW4zMiIsIkFOIjoiTWFpbCIsIldUIjo
       yfQ%3D%3D%7C0%7C%7C%7C&sdata=8qM8eBGKhuq62NRr9lw9tmxc2M%
       2BId7YfBy7b9z3Jr%2Bk%3D&reserved=0 under Grant Maintenance, Award
       Documents.

       You will need to sign in to G5 to access your GAN. If you don't already have an
       account in G5, please go to the link on the top left of the home page that says
       "Not Registered? Sign up" and follow the instructions. To register, you will need
       your institution's UEI. You must also use the exact same name (no nicknames)
       and email address that is listed on this email. If you are a project director, or state
       director, select "Project Director" or "State Director" when prompted to choose a
       role in your profile. Please note: Only recipients of this email (the project
       director and certifying official or state director and authorizing official) can
       access the GAN in G5. If someone else at your organization requires a copy, you
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              may print out a copy or forward the PDF to them.

              If you have questions regarding accessing G5 or your GAN documents, please
              contact the G5 help desk at 888-336-8930. For all other questions of a
              programmatic or fiscal nature, please contact the ED Program Contact listed on
              your GAN (Box 3).

              Please acknowledge receipt of this e-mail by sending a reply to the Education
              Program Contact listed on your GAN (Box 3).

              k.     Also on February 12, 2025, UMass Amherst received the following email

       (emphasis added) from the Department at 10:44 pm ET:

              From: Washington, Mark <Mark.Washington@ed.gov>
              Date: Wednesday, February 12, 2025 at 10:44 PM
              To: <@umass.edu>
              Cc: Ryder, Ruth <Ruth.Ryder@ed.gov>, Weems, Kia <Kia.Weems@ed.gov>,
              Williams, Damien <Damien.Williams@ed.gov>
              Subject: S336S230018_UNIVERSITY_OF_MASSACHUSETTS 021225
              FINAL.pdf

              Please see the attached letter, informing you of the Department’s decision to
              terminate your federal award S336S230018, because the grant is inconsistent
              with, and no longer effectuates, Department priorities. You will also receive an
              updated GAN notice, confirming this decision and change. You will also receive
              notification from the Department’s G5 grants administration system.
              Please feel free to contact me with any related questions or concerns about this
              information. Please also note the basis for challenge or appeal of this decision, as
              noted in the language of the attached letter.
              Respectfully, Mark Washington

       16.    On February 12, 2025, without any prior notice or indication, the Department

informed UMass Amherst that, effective that same day – February 12, 2025 – its TQP grant

program titled “Para-to-Teacher Program (PtT) for Early Childhood Education (ECE) Licensure

in Massachusetts (PreK-2)” was being terminated. Exhibits C and D.




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        17.     The February 12, 2025 communication from the Department to UMass Amherst

states: “the grant is deemed to be inconsistent with, and no longer effectuates, Department

priorities. See 2 C. F. R. 200.340(a)(4); see also 34 C.F.R. 75.253.” Exhibit D, p. 4.

        18.     The Department’s termination letter (Exhibit C, p. 1) does not state the basis for

terminating the grant with anything even approaching clarity. Instead, it provides a laundry list

of possible and alternative bases, when it states: “the grant specified above provides funding for

programs that promote or take part in DEI initiatives or other initiatives that unlawfully

discriminate on the basis of race, color, religion, sex, national origin, or another protected

characteristic; that violate either the letter or purpose of Federal civil rights law; that conflict

with the Department’s policy of prioritizing merit, fairness, and excellence in education; that are

not free from fraud, abuse, or duplication; or that otherwise fail to serve the best interests of the

United States.” (Emphasis added). Not only does the letter completely fail to articulate its actual

termination basis, there is no evidence to support that a single “pick one, any one” predicate for

termination occurred in relation to this grant or in UMass Amherst’s work concerning this grant.

        19.     None of the Department’s communications to UMass Amherst described a single

specific concern regarding any alleged “discriminatory practices” related to the PtT program, nor

did the Department ever provide a single detail describing how the PtT program was allegedly

inconsistent with the ED’s priorities. Prior to ED’s February 12, 2025 grant award termination,

the Department had never provided UMass Amherst with any notice – written or otherwise – that

the grant administered by UMass Amherst engaged in any of the ostensible – and alternative –

termination bases described in the termination letter. For example, the Department never

provided notice that UMass Amherst’s PtT programs “promote or take part in DEI initiatives or

other initiatives that unlawfully discriminate on the basis of race, color, religion, sex, national



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origin, or another protected characteristic;” “violate either the letter or purpose of Federal civil

rights law;” “conflict with the Department’s policy of prioritizing merit, fairness, and excellence

in education;” “are not free from fraud, abuse, or duplication;” or “otherwise fail to serve the best

interests of the United States.” See Exhibits C and D.

       20.        UMass Amherst relied and acted upon its expectation and understanding that

the Department would fulfill its commitment to provide the TQP grant funding it had awarded to

UMass Amherst on July 27, 2023. Exhibit A. At the time of termination, the PtT program was

one and a half years into its five-year project period, with significant deliverables scheduled for

the next seven months, such as graduate assistant employment, project manager expenses,

professional development staff stipends, faculty summer salaries, veteran teacher supervision

honorariums, and district mentors. The Department’s sudden termination of the grant at this

point in the project caused confusion among the partner schools, the nineteen paraeducators who

are currently engaged in coursework, and has hindered the PtT program’s ability to continue

supporting paraeducators who have already participated (and will participate) in the program.

       21.     The nineteen paraeducators in the program have expressed their concerns and

fears about the termination of the grant to UMass Amherst, particularly in relation with their

practicum years. Currently, ten of those paraeducators are scheduled to begin their student

teaching in the fall of 2025. When they were admitted, the PtT promised that the TQP grant

would cover the cost of substitute teachers so they could participate in student teaching while

remaining employed as paraeducators. However, due to the termination, the paraeducators will

lose this support, and the school districts will face the financial burden of covering the cost of

substitute teachers and will have to make decisions about whether, and if so how, they can

support these individuals to continue on their path to ECE licensure. This loss of funding



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therefore jeopardizes the ability of these currently enrolled paraeducators to complete the

program and become licensed.

       22.     Without the grant funds, the paraeducators who are currently participating in the

program – and who were supposed to participate in the program over its five-year time period –

will lose the opportunity to become licensed teachers, worsening the teacher shortage and

depriving students of well-prepared educators. The impact extends beyond the current

paraeducators in the program; it threatens a pipeline designed to strengthen the workforce in the

partner school districts that have struggled with teacher shortages. The table below lists some of

the immediate impacts of the grant termination and its potential harm to UMass Amherst, partner

schools, and paraeducators in the PtT program.

 Entities       Impact of the Grant Termination                                        Impacted
 Impacted                                                                              Year

 UMass          Consequences of the Termination on Personnel                           Year 2
 Amherst        UMass Amherst personnel working on the grant will forfeit their        (Current)
 and UMass      summer salaries for grant-related work, and graduate assistants will   & All
 Amherst’s      lose their employment.                                                 Years
 UWW
                This will result in the loss of their ability to manage the program,
                collaborate with partner school districts, recruit paraeducators,
                advise enrolled paraeducators, offer financial aid sessions to help
                paraeducators apply for relevant state grants on time, and support
                them in preparation for the Massachusetts Test for Educator
                Licensure (“MTEL”).

                Impact of Staff Funding Loss                                           All Years
                UMass Amherst will lose their funding for a contract with
                Paradigm Shift, an organization that supports paraeducators in
                preparing for MTEL.

                UMass Amherst cannot pay for a staff member in the Educational
                Technology office to assist paraeducators in learning how to use
                technology. This support is critical, since all courses are offered
                online and many paraeducators have limited experience with online
                learning.


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            UMass Amherst cannot pay for staff members in the educator
            licensure office who assist with practicum placement and licensure-
            related documents.

            Lack of Funding to Support Practicum                                   Years 3
            Cohort 1 paraeducators are scheduled to begin their practicum in       through 5
            the fall of 2025. The PtT program secures funds to pay for
            substitute teachers while paraeducators are away from their
            classrooms for student teaching. However, due to the grant
            termination, the PtT team will lose funds to cover these expenses.

            UMass Amherst will lose funds to pay for the thirty-five
            supervising practitioners (who will mentor paraeducators during
            their student teaching) and practicum supervisors, including
            stipends and mileage for classroom observations.

            UMass Amherst cannot support the payment for TK20, as required
            by the MA DESE. TK20 is an electronic portfolio used to track
            student performance (e.g., artifacts, assessments) and manage
            licensure-related documentation.

            Impact on Program Evaluation and Conference Travel
            UMass Amherst will lose funds for program evaluation and for
            conference travel, which are essential for improving the program
            and sharing their findings.

Para        Limited Advising Support                                               All Years
Educators   Due to the limited personnel and staff, advising support for
            paraeducators enrolled in the program will be limited. This
            advising includes necessary support for financial aid sessions and
            MTEL preparation (e.g., workshops, one-on-one tutoring,
            vouchers). Limited advising support may delay the paraeducators'
            ability to obtain a teaching license.

            Many of these paraeducators are currently facing challenging
            situations. Some of them have young children to care for and hold
            two jobs. They have been away from coursework for an extended
            period, so they require support to apply for financial aid, complete
            coursework and student teaching, and pass the MTELs.

            Challenges for Practicum Placement                                     Year 3
            As described above, when paraeducators were admitted, they were        through 5
            informed that the TQP grant would cover the cost of substitute
            teachers while they are away from their classrooms for student
            teaching. However, due to the grant termination, they will no
            longer receive the support. As a result, the paraeducators


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           beginning student teaching this fall of 2025 will face challenges
           finding practicum-equivalent classes while maintaining their
           employment as paraeducators.

           Some of the paraeducators, who are currently hired as teachers of
           record, assume the role of lead teacher with no ECE license.
           Without the funding for substitute and mentor teachers that the
           TQP grant originally promised to provide, they may not have
           mentors for their student teaching.

           Potential Harm from Leaving the Program                                  All Years
           Given the termination news, paraeducators have reported to UMass
           Amherst that they are currently confused and anxious about their
           future, which may lead some to leave the program. A paraeducator
           in the program emailed the project director about the termination,
           “This is absolutely heartbreaking. This program has been life
           changing for me. The support I have received has been second to
           none. I want to thank you all for everything you have provided for
           us. I am at a loss for words.”

           The grant termination will impact the PtT team’s ability to operate
           the program and support paraeducators. This will affect
           paraeducators’ completion of coursework and student teaching. As
           a result, some may decide to leave and discontinue pursuing a
           teaching license.

           Since the PtT offers courses through the UWW online degree
           completion program, paraeducators enrolled in the program pay
           lower tuition compared to traditional undergraduate students at
           UMass Amherst, while still receiving the same high-quality ECE
           teacher preparation. Without grant support, however,
           paraeducators will face challenges in completing their ECE BA
           degree. These individuals were also anticipating a significant
           increase in their income upon transitioning to the role of a teacher
           after getting licensed through this program.

Partner    Teacher Shortage                                                         All Years
Schools    The goal of the PtT program was to produce thirty-five ECE-              & beyond
           licensed teachers for the partner schools. However, due to the           the grant
           grant termination, the school districts will be unable to fill these     period
           positions with high-quality teachers. As a result, the partner school
           districts will continue to face a teacher shortage, and their need for
           licensed ECE teachers through the para-to-teacher pipeline will
           persist. This ongoing shortage will continue to negatively impact
           student achievement.


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        Holyoke school district stated, “⅓ of our Early Childhood teaching
        staff are currently unlicensed and on waivers. The termination of
        this program threatens not only the professional growth of our
        paraeducators but also the sustainability of high-quality early
        childhood education in Holyoke. Without this program, we will
        struggle to meet this demand and risk placing students at a
        disadvantage by relying on an under-qualified workforce.

        Springfield school district stated, “the assistance that the program
        provides with reduced tuition is a key factor to their commitment to
        become a licensed educator. Currently, we have over 325 educators
        that are on waivers or emergency licensure. UMASS's program
        puts preventive measures in place for participants to receive
        support for the MTEL so that they will obtain an initial license.”

        The goal of the PtT program was to expand beyond these two
        districts, offering a high quality, accessible, and affordable online
        ECE licensure program for all paraeducators across the state to
        address teacher shortage in high-needs schools. The termination is
        ultimately impacting the broader scope of this initiative.

        Financial Burden                                                        Years 3
        As noted above, PtT will no longer be able to pay for substitute        through 5
        teachers during student teaching. As a result, the districts will be
        responsible for finding practicum-equivalent classrooms for the
        paraeducators and covering any expenses related to substitute
        teachers, which may jeopardize the ability of paraeducators to
        complete the steps to become licensed.

        Lack of Compensation for District Personnel                             Year 2
        Several district personnel have supported recruitment, advising,        (Current)
        and mentoring for paraeducators. However, these personnel will          & All
        not be compensated and their work will be discontinued.                 Year

        Disruption of Professional Development (“PD”) Workshops                 All Years

        District-Wide Summer PD: PtT has offered and scheduled
        professional development workshops for enhancing the quality of
        current teachers in the partner schools. These workshops were co-
        developed in collaboration between UMass Amherst faculty and a
        school district partner. PtT will no longer be able to offer these
        workshops.

        Supervising Practitioner Summer PD: PtT planned to offer
        professional development workshops for teachers who could serve
        as potential mentor teachers (supervising practitioners) for


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                 paraeducators during student teaching. These workshops were to
                 be co-developed in collaboration between UMass Amherst faculty
                 and experienced veteran teachers from the partner school district.
                 However, PtT will no longer be able to offer these workshops.

                 Participants in the workshops (teachers and supervising
                 practitioners) and district partners who co-facilitate these
                 workshops will lose credits for their promotion and opportunities to
                 be highly effective teachers.

        23.   The partner school districts that UMass Amherst is working with as part of the

TQP grant are in dire need of additional licensed teachers. For example, in Holyoke schools, one

third of the ECE teaching staff are currently unlicensed and on waivers. The termination of this

PtT program threatens not only the professional growth of the paraeducators who have

participated so far but also the sustainability of high-quality early childhood education in

Holyoke.

        24.     Similarly, Springfield school district currently has over 325 educators that are on

waivers or emergency licensure. The termination of the PtT program will hinder the ability of

Springfield to create a pipeline for licensed and highly qualified early childhood educators in

their high needs district as well.

        25.     The termination of the PtT program at UMass Amherst has caused confusion and

challenges for paraeducators enrolled in the program, potentially leading them to leave and

abandon their pursuit of a teaching license and will jeopardize the participation of other

promising paraeducators who want to pursue licensure. This will also impact the school districts

they are being trained to serve, causing them to continue struggling with teacher shortages and

placing students with high needs (almost 90% of the student population in these two districts) in

classrooms with an under-qualified workforce.




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       26.        The termination of the grant has already caused immediate, significant harm to

UMass Amherst, partner schools, and paraeducators (both current participants and those who

will join the program). With TQP grant support for Year 1 and 2, UMass Amherst has

established the program of study, advising and support systems, and recruited nineteen

paraeducators, with additional applicants eager to join. Terminating the grant at this stage, and

in this manner, is a tremendous waste of the funds, time, and effort that UMass Amherst has

expended in reliance on the expectation that the grant would continue through the five-year term.

Additionally, the goal of the PtT program was to expand beyond these two school districts.

       27.     The Department’s abrupt termination of TQP grants has also adversely and

immediately impacted the University of Massachusetts Boston (“UMass Boston”). UMass

Boston was in the final stages of the process of working with the Boston Public Schools (“BPS”)

concerning its teacher residency program. UMass Boston, as BPS’s partner institution of higher

education in the TQP program, would have conferred the Master’s Degree in Special Education

to the program’s participants.

       28.     In the program’s first year, participants are BE/ACTT candidates, taking teacher

preparation coursework and working towards preliminary licensure through both UMass Boston

and the Boston Public Schools. The second year of the program is the residency year, where BIE

residents are placed in a BPS dual language classroom, working alongside a mentor teacher and

gradually taking on full teacher of record responsibilities. During this year, residents also earn

their Master’s Degree in Special Education from UMass Boston and their Initial Licensure in

Moderate Disabilities and the Bilingual Education Endorsement.

       29.     Also, as part of the residency model, BIE residents earn a living wage stipend of

$60,000. This stipend is intentionally designed to provide financial support such that residents



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do not have an interruption in their accustomed salary (since most of the program’s residents are

BPS paraeducators) and for BIE residents to be able to pay their UMass Boston tuition without

incurring any student loan debt.

       30.     These programs play a key role in developing a high quality, accessible, and

affordable program to address teacher shortages and provide professional learning for teachers in

high-needs areas such as the school districts served by the TQP grant programs in which the

UMass Amherst and UMass Boston campuses were participating. Schools involved in TQP

grants have reported improvements in the quality and retention of their teachers and in the

quality of their students’ learning experiences and achievement. The Department’s abrupt

termination decision is inconsistent with the Department's priorities of merit, fairness, and

excellence in education. All Massachusetts students should have access to high-quality teachers,

and schools in high-needs areas require support to address teacher shortages and improve the

quality of the teacher workforce.

      I declare under penalty of perjury under the laws of the United States that, to the best of

my knowledge, the foregoing is true and correct.

       Executed on March 4, 2025, at Westborough, Massachusetts.

                                              /s/ Denise Barton
                                              Denise Barton




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                 EXHIBIT A
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           S336S230018
           Beverley J Bell
           University of Massachusetts Amherst
           Coll: Education
           Furcolo, College of Ed, Rm 246
           Amherst, MA 01003
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       S336S230018

       Kristy S Reese
       University of Massachusetts Amherst
       Coll: Education
       Office of Research and Engagement
       Venture Way Center, 100 Venture Way, Suite 201
       Hadley, MA 01035
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                                           US Department of Education
                                             Washington, D.C. 20202

                                    GRANT AWARD NOTIFICATION

1 RECIPIENT NAME                                              2 AWARD INFORMATION
     University of Massachusetts Amherst                                  PR/AWARD NUMBER                S336S230018
     Coll: Education                                                        ACTION NUMBER                1
     Office of Research and Engagement                                         ACTION TYPE               New
     Venture Way Center, 100 Venture Way, Suite 201                            AWARD TYPE                Discretionary
     Hadley, MA 01035
    PROJECT STAFF
3                                                             4 PROJECT TITLE
     RECIPIENT PROJECT DIRECTOR                                         84.336S
        Beverley J Bell             (413) 545-2510                      Para-to-Teacher Program for Early Childhood Education
        bjbell@umass.edu                                                (ECE) Licensure in Massachusetts (Pre K-2)
     EDUCATION PROGRAM CONTACT
        Mia Howerton                (202) 205-0147
        Mia.Howerton@ed.gov
     EDUCATION PAYMENT HOTLINE
        G5 PAYEE HELPDESK           888-336-8930
        obssed@servicenowservices.com
    KEY PERSONNEL
5
     NAME                           TITLE                                         LEVEL OF EFFORT
     Beverley J Bell                Project Director                                          0%

6 AWARD PERIODS
                  BUDGET PERIOD               10/01/2023 - 09/30/2024
             PERFORMANCE PERIOD               10/01/2023 - 09/30/2028

    FUTURE BUDGET PERIODS

         BUDGET PERIOD                            DATE                                      AMOUNT
                  2                       10/01/2024 - 09/30/2025                          $236,418.00
                  3                       10/01/2025 - 09/30/2026                          $574,375.00
                  4                       10/01/2026 - 09/30/2027                          $680,079.00
                  5                       10/01/2027 - 09/30/2028                          $542,524.00

7 AUTHORIZED FUNDING
                               THIS ACTION                     $262,933.00
                             BUDGET PERIOD                     $262,933.00
                        PERFORMANCE PERIOD                     $262,933.00

8 ADMINISTRATIVE INFORMATION
                   UEI          VGJHK59NMPK9
           REGULATIONS          EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
          ATTACHMENTS           2 , 3 , 6 , 8 , 9 , 11 , 12 , 13 , 14 , GE1 , GE2 , GE3 , GE4 , GE5

    LEGISLATIVE AND FISCAL DATA
9
      AUTHORITY:                           PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
      PROGRAM TITLE:                       TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                           PARTNERSHIPS
      CFDA/SUBPROGRAM NO:                  84.336S
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                                                  US Department of Education
                                                    Washington, D.C. 20202

                                            GRANT AWARD NOTIFICATION
     FUND         FUNDING     AWARD ORG. CODE CATEGORY                 LIMITATION        ACTIVITY     CFDA       OBJECT          AMOUNT
     CODE          YEAR        YEAR                                                                              CLASS
     0201A         2023        2023      ES000000           B               JDK             000         336       4101C             $262,933.00

10    PR/AWARD NUMBER:                               S336S230018
      RECIPIENT NAME:                                University of Massachusetts Amherst
                                                     Coll: Education
      GRANTEE NAME:                                  UNIVERSITY OF MASSACHUSETTS
                                                     COMMONWEALTH AVE,
                                                     AMHERST, MA 01003 -
      PROGRAM INDIRECT COST TYPE:                    Restricted
      PROJECT INDIRECT COST RATE:                    2%

      TERMS AND CONDITIONS

            (1)    The Office of Management and Budget requires all Federal agencies to assign a Federal Award Identifying Number
                   (FAIN) to each of their financial assistance awards. The PR/AWARD NUMBER identified in Block 2 is your FAIN.
                   If subawards are permitted under this grant, and you choose to make subawards, you must document the assigned PR/
                   AWARD NUMBER (FAIN) identified in Block 2 of this Grant Award Notification on each subaward made under this
                   grant. The term subaward means:
                   1. A legal instrument to provide support for the performance of any portion of the substantive project or program for
                   which you received this award and that you as the recipient award to an eligible subrecipient. (See 2 CFR 200.331(a))
                   2. The term does not include your procurement of property and services needed to carry out the project or program
                   (The payments received for goods or services provided as a contractor are not Federal awards, see 2 CFR 200.501(f)
                   of the OMB Uniform Guidance: "Uniform Administrative Requirements, Cost Principles, and Audit Requirements for
                   Federal Awards").
                   3. A subaward may be provided through any legal agreement, including an agreement that you or a subrecipient
                   considers a contract. (See 2 CFR 200.1)

            (2)    Unless this grant solely funds research, you must comply with new regulations regarding awards to faith-based
                   organizations (FBOs) that provide beneficiary services under this grant or under a contract you award to provide
                   beneficiary services under this grant. These new regulations clarify the rights of FBOs and impose certain duties on
                   FBOs regarding the referral of beneficiaries they serve. See 34 CFR 75.52, 75.712-75.714, appendix A to part 75, and
                   2 CFR 3474.15. The Department has established a web page that provides guidance on the new regulations, including
                   FAQs and other implementation tools, which is available at http://www2.ed.gov/policy/fund/reg/fbci-reg.html. If you
                   have any questions about these regulations, please contact the Education Program Contact identified in Block 3 of this
                   GAN.

            (3)    Reimbursement of indirect costs is subject to the availability of funds and statutory and regulatory restrictions. The
                   negotiated indirect cost rate agreement authorizes a non-Federal entity to draw down indirect costs from the grant
                   awards. The following conditions apply to the below entities.

                   A. All entities (other than institutions of higher education (IHE))

                   The GAN for this grant award shows the indirect cost rate that applies on the date of the initial grant for this project.
                   However, after the initial grant date, when a new indirect cost rate agreement is negotiated, the newly approved
                   indirect cost rate supersedes the indirect cost rate shown on the GAN for the initial grant. This new indirect cost rate
                   should be applied according to the period specified in the indirect cost rate agreement, unless expressly limited under
                   EDGAR or program regulations. Any grant award with an approved budget can amend the budget to account for a
                   change in the indirect cost rate. However, for a discretionary grant award any material changes to the budget which
                   may impact the scope or objectives of the grant must be discussed with the program officer at the Department. See 34
                   CFR 75.560 (d)(3) (ii) (part 75 of EDGAR).

                   B. Institutions of higher education (IHE)
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                                               US Department of Education
                                                 Washington, D.C. 20202

                                        GRANT AWARD NOTIFICATION

               Under 2 CFR part 200, Appendix III, Indirect (F&A) Costs Identification and Assignment, and Rate Determination
               for Institutions of Higher Education (IHEs), the Department must apply the negotiated indirect cost rate in effect on
               the date of the initial grant award to every budget period of the project, including all continuation grants made for this
               project. See 2 CFR Part 200, Appendix III, paragraph C.7. Therefore, the GAN for each continuation grant will show
               the original indirect cost rate and it applies to the entire period of performance of this project. If the indirect cost rate
               agreement that is applicable to this grant does not extend to the end of the grant s project period, the indirect cost rate
               set at the start of the project period must still be applied to the end of project period regardless of the fact that the rate
               has otherwise expired.

         (4)   The grantee must submit a revised budget covering the October 1, 2023-September 30, 2024 budget period of the
               grant award that aligns with the actual amount of funding that the grantee receives from the Department. The revised
               budget must be within the scope of the approved project and must align with all initial goals and objectives of the
               approved application. The grantee must submit this revised budget within 30 days of the grant award.
               If you wish to request reconsideration of these specific conditions, please send written notification describing why
               such conditions should not be imposed on this grant to your Department program officer.




                                                                       AUTHORIZING OFFICIAL                                      DATE

Ver. 1
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                     EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
      PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
      ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
      ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
      AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
      *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
      EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
      EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5.* KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                             approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                       performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                            proposes it will award the recipient provided substantial progress is made by the recipient in
                                            completing approved activities, the Department determines that continuing the project would be in the
                                            best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                            recipient has submitted a performance report that provides the most current performance information
                                            and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
      *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
      *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
      RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                        by the program legislation or regulations and/or terms and conditions of the award.
      RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                         the recipient's application. When non-federal funds are identified by the recipient where a
                                                         cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                         federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                   tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                   associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                           Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
       CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
* This item differs or does not appear on formula and block grants.
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                 UNITED STATES DEPARTMENT OF EDUCATION
                       OFFICE OF THE CHIEF FINANCIAL OFFICER
                           & CHIEF INFORMATION OFFICER




Beverley J Bell
University of Massachusetts Amherst
Coll: Education
Office of Research and Engagement
Venture Way Center, 100 Venture Way, Suite 201

Hadley, MA 01035

SUBJECT: Payee Identification for Grant Award S336S230018

This is to inform you that the United States Department of Education does not have a payee
and bank account of record designated for the above listed grant award. You will not be able to
request funds for this grant award until a payee and bank account of record are established.

1) All SF-1199A, Direct Deposit and Fedwire Sign-Up forms must be mailed to the Department
   of Education. The SF-1199A must contain original signatures for both the recipient and bank
   officials.
2) First time recipients establishing a bank account for a new award must include a copy of the
   grant award document with the cover letter and SF-1199A, Direct Deposit or Fedwire Sign-
   Up forms.
3) The Grant Administration and Payment System (GAPS) has been enhanced to produce an
   automated notification when bank account data has been changed or deleted. This automated
   notification is transmitted via e-mail to Payees having e-mail capacity or mailed to recipients
   without an e-mail address.
4) All banking information requests, including establishing a new bank account, modifying an
   existing bank account or deleting a bank account must be accompanied with a cover letter
   requesting the specific action. The cover letter must be on the letterhead of the requesting
   payee. The cover letter must contain the following information:

      - UEI
      - e-mail address (if available) for the person to receive automated notification
      - signature and phone number of the person requesting the bank information change

Mail Cover Letters and accompanying forms to:
                                 U.S. Department of Education
                               400 Maryland Ave, SW, Rm. 4C146
                                  Washington, DC 20202-4110
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                 UNITED STATES DEPARTMENT OF EDUCATION
                       OFFICE OF THE CHIEF FINANCIAL OFFICER
                           & CHIEF INFORMATION OFFICER

                            Attn: Financial Management Operations

If you have any questions or require assistance concerning establishing a payee record for a bank
account please contact the G5 Hotline at 1-888-336-8930.
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Dear G5 Payee:
To obtain your G5 Login ID, you will need to complete the G5 External User Access Request Form and return
it notarized to the U.S. Department of Education. Attached are the instructions for accessing and completing the
form. Upon receiving the notarized form, the Department will send you an email with your new G5 Login ID.
Please mail the form to:
                      U.S. Department of Education
                      Office of the Chief Information Officer
                      Mail Stop - 4110
                      400 Maryland Avenue S.W.
                      Washington, DC 20202
                      Attn: Functional Applications Team
Thank you for your continued support of the U.S. Department of Education's G5 Grant Management System.
Please contact the G5 Hotline (888-336-8930) if you have any
                      Sincerely,
                      G5 Administration
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Instructions for Completing the G5 External User Access Request Form
To establish direct access to your U.S. Department of Education G5 Grant Management System account, please
complete the G5 External User Access Request Form attached, have it notarized, and mail the completed form
to the address below.

Steps for Completing the G5 External User Access Request Form -

   1. Go to http://www.g5.gov and click on the link, "Not Registered? Sign up".
   2. Compete each data element of the form including the following elements:
          a. User Type (Select Payee unless you are specifically a Servicer)
          b. Unique Entity Identifier (UEI)
          b. Desired Role (Select Full Access to enable you to continue to draw funds, or View Only if you
             will only need to review account activity).
   3. Print the form and then Submit your online registration.
   4. You will immediately receive an email asking you to activate your account.
   5. Click on the link in the email and select your password and Secret Question and Answer.
   6. Congratulations! You now have an active account. Only one more step!!
   7. Sign the printed (from step 3) G5 External User Access Request Form as the Authorized Payee in the
      presence of a Notary Public.
   8. Assure the G5 External User Access Request Form is notarized with appropriate seal and signature and
      expiration date.
   9. Mail the completed, notarized G5 External User Access Request Form to the following address:
                    U.S. Department of Education
                    Office of the Chief Information Officer
                    Mail Stop - 4110
                    400 Maryland Avenue S.W.
                    Washington DC 20202
                    Attn: Functional Applications Team
   10. Allow two weeks for delivery and account updates.
   11. You will receive Email notification that your G5 External User Access Request Form has been processed
       and your roles have been assigned.
   12. Congratulations, You're now able to access G5 directly.
As always, please contact the G5 Hotline (888-336-8930) with any questions.
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                                           INSTRUCTIONS
                                  ACH DIRECT DEPOSIT SIGN-UP FORM
                                              SF-1199A

Recipients can obtain an SF-1199A (Figure D-1) from their financial insitution. The preprinted instructions on
the reverse side of the SF-1199A should be disregarded and the following instructions should be followed in
completing the SF-1199A.

The recipient is to complete Sections 1 and 2 of the SF-1199A. The recipient's financial institution is to
complete Section 3 and mail the completed form to the Department of Education. The financial institution will
mail a copy of the completed SF-1199A to the recipient.

INSTRUCTIONS - SECTION 1
ITEM A     Name of Payee                          Enter the name and address of payee's organization.
           Address                                Enter telephone number of person authorized to certify the
           Telephone Number                       payment request.
ITEM B     Name of Person(s) Entitled             Leave Blank.
           to Payment
ITEM C     Claim or Payroll ID                    Enter the following information
           Number                                   Prefix: 9 digit D-U-N-S Number,
                                                    Suffix: 11 character Grant Award nUmber.
ITEM D             Type of Depositor              Place an "X" in the Appropriate Box.
ITEM E             Depositor Account              Enter the payee's account number at the financial institution in
                                                  which funds are to be deposited. Include blanks or dashes when
                                                  entering the account number.
ITEM F             Type of Payement               Enter "X" in the "Other" box.
ITEM G             Box for Allotment of           Leave Blank.
                   Payment Only
Payee/Joint                                       Authorized Certifying Official for the payee is to sign the form.
Certification

INSTRUCTIONS - SECTION 2
Government Agency Name                 Enter:      U.S. Department of Education
Government Agency Address              Enter:      400 Maryland Avenue, SW
                                                   Room 4C138
                                                   Washington, DC 20202

INSTRUCTIONS - SECTION 3
To be completed by financial institution.
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Director, Financial Payment Group
U.S. Department of Education
400 Maryland Avenue, SW
Washington, DC 20202 - 4331

Ref: PR/Award No. S336S230018

Dear Sir:

Please transfer FEDWIRE payments for University of Massachusetts Amherst to the following financial institution and
depositor account beginning on this date: Month_____, Day_____, Year_____.

Information regarding the financial institution to which payments for D-U-N-S_______________ are to be transferred is
provided below.



Financial Institution                                        Corresponding Bank (if applicable):

Name:                                                        Name:
Street:                                                      Street:
City:                                                        City:
State:                                                       State:
Zip:                                                         Zip:

ABA Number:                                                  ABA Number:
Account Number:                                              Telegraphic Abbrev.:
Contact Name:
Telephone No:

Please update my account with the information as indicated above. If you have any questions, I may be reached at (____)
_______________.


                                                               Sincerely,



                                                                       Chief Financial Officer
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                          SPECIFIC GRANT TERMS AND CONDITIONS FOR
                            FINANCIAL AND PERFORMANCE REPORTS


PERFORMANCE REPORTS:

(1) FINAL REPORTS - ALL RECIPIENTS are required to submit a final performance report within 120 days
after the expiration or termination of grant support in accordance with submission instructions provided
in box 10 of the Grant Award Notification (GAN), or through another notification provided by the
Department of Education (Department) (2 CFR § 200.329(c)).

(2) ANNUAL, QUARTERLY, or SEMIANNUAL REPORTS - ALL RECIPIENTS of a multi-year discretionary
award must submit an annual Grant Performance Report (34 CFR § 75.118). The annual performance
report shall provide the most current performance and financial expenditure information that is
sufficient to meet the reporting requirements of 2 CFR §§ 200.328, 200.329, and 34 CFR § 75.720.

Your education program contact will provide you with information about your performance report
submissions, including the due date, as a grant term or condition in box 10 on the GAN, or through
another notification provided by the Department. The grant term or condition in box 10 on the GAN or
another notification may reflect any of the following:

    1. That a performance report is due before the next budget period begins. The report should
       contain current performance and financial expenditure information for this grant. It will either
       identify the date the performance report is due or state that the Department will provide
       additional information about this report, including due date, at a later time.

    2. That an interim performance report is required because of the nature of the award or because
       of statutory or regulatory provisions governing the program under which this award is made,
       and that the report is due more frequently than annually as indicated, e.g., due quarterly and
       submitted within 30 days after the end of each quarter, or due semiannually and submitted
       within 30 days after the end of each 6-month period (2 CFR § 200.329(c)(1)).

    3. That other reports are required, e.g., program specific reports required in a program’s statute or
       regulation.

(3) FINANCIAL REPORTS – SOME RECIPIENTS:

If a financial report is required, your education program contact will provide you with information about
your financial report submission, including the due date, as a grant term or condition in box 10 on the
GAN, or through another notification.

A Standard Form (SF) 425 Federal Financial Report (FFR) is required if:

    1. A grant involves cost sharing, and the ED 524B, which collects cost sharing information, is not
       submitted or a program-specific report approved by U.S. Office of Management and Budget
       (OMB) does not collect cost sharing information;
    2. Program income was earned;


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    3. Indirect cost information is to be reported and the ED 524B was not used or a program-specific
       report approved by OMB does not collect indirect cost information;
    4. Program regulations or statute require the submission of the FFR; or
    5. Specific Award Conditions, or specific grant or subgrant conditions for designation of “high risk,”
       were imposed in accordance with 2 C.F.R. part 200.208 and part 3474.10 and required the
       submission of the FFR.

If the FFR is required, the notification may indicate one of the following (see the form and its
instructions at Standard Form (SF) 425 Federal Financial Report (FFR)):

    1. Quarterly - FFRs are required for reporting periods ending on 12/31, 03/31, 06/30, 09/30, and
       are due within 30 days after each reporting period.

    2. Semi-annual - FFRs are required for reporting periods ending on 03/31 and 09/30, and are due
       within 30 days after each reporting period.

    3. Annual - FFRs are required for reporting period ending 09/30, and is due within 30 days after the
       reporting period.

    4. Final - In coordination with the submission of final performance reports, FFRs are due within 120
       days after the project or grant period end date (2 CFR 200.328).

When completing an FFR for submission, the following must be noted:

    1. Multiple Grant Reporting Using SF 425A Prohibited: While the FFR is a governmentwide form
       that is designed for single grant and multiple grant award reporting, the Department’s policy is
       that multiple grant award reporting is not permitted for Department grants. Thus, a Department
       grantee that is required to submit an FFR in accordance with any of the above referenced
       selections must complete and submit one FFR for each of its grants. Do not use the FFR
       attachment (Standard Form 425A), which is available for reporting multiple grants, for reporting
       on Department grants. As such, references to multiple grant reporting and to the FFR
       attachment in items 2, 5 and 10 of the FFR are not applicable to Department grantees. With
       regards to item 1 of the note found in the FFR Instructions, a grantee must complete items 10(a)
       through 10(o) for each of its grants. The multiple award, multiple grant, and FFR attachment
       references found in items 2, 5, 6, before 10(a), in item 10(b), before 10(d), before 10(i) and
       before 10(l) of the Line Item Instructions for the FFR are not applicable to Department grants.

    2. Program Income: Unless disallowed by statute or regulation, a grantee will complete item 10(m)
       or 10(n) in accordance with the options or combination of options as provided in 2 CFR Part
       200.307. A grantee is permitted, in accordance with 2 CFR Part 200.307, to add program income
       to its Federal share to further eligible project or program objectives, use program income to
       finance the non-Federal share of the project or program; and deduct program income from the
       Federal share of the total project costs.

    3. Indirect Costs: A grantee will complete item 11(a) by listing the indirect cost rate type identified
       on its indirect cost rate agreement, as approved by its cognizant agency for indirect costs.


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         A Department grantee that does not have an indirect cost rate agreement approved by its
         cognizant agency for indirect costs, and that is using the Department approved (beyond the 90-
         day temporary period) temporary indirect cost rate of 10% of budgeted direct salaries and
         wages, or the de minimis rate of 10% of modified total direct cost (MTDC) must list its indirect
         cost rate in 11(a) as a Department Temporary Rate or De Minimis Rate. The de minimis rate of
         10% of MTDC consists of:

                  All direct salaries and wages, applicable fringe benefits, materials and supplies, services,
                  travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
                  subgrant). MTDC excludes equipment, capital expenditures, charges for patient care,
                  rental costs, tuition remission, scholarships and fellowships, participant support costs
                  and the portion of each subaward in excess of $25,000. Other items, including contract
                  costs in excess of $25,000, may be excluded when necessary to avoid a serious inequity
                  in the distribution of indirect costs (see definition of MTDC at 2 CFR § 200.1).

         A training program grantee whose recovery of indirect cost limits indirect cost recovery to 8% of
         MTDC or the grantees negotiated indirect cost rate, whichever is less in accordance with EDGAR
         § 75.562 (c), must list its rate in 11(a) as a Department Training Grant Rate. The 8% limit does
         not apply to agencies of Indian tribal governments, local governments, and States 1 as defined in
         2 CFR § 200.1

         A restricted program grantee must list its rate as a Restricted Indirect Cost Rate in 11(a). A
         restricted program (i.e., programs with statutory supplement-not-supplant requirements)
         grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
         indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
         negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
         not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
         not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
         the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
         negotiated. If a restricted program grantee elects to utilize the temporary rate, it must list its
         rate as a Department Temporary Rate in 11(a).

         Grantees with indirect cost rates prescribed in program statute or regulation must list their rate
         as a Rate Required in Program Statute or Regulation in 11(a). Grantees are required to follow
         program-specific statutory or regulatory requirements that mandate either indirect cost rate
         type or maximum administrative costs recovery.

         For detailed information including restrictions related to temporary, de minimis, training,
         restricted, and program prescribed indirect cost rates see GAN ATTACHMENT 4.

    4. Supplemental Pages: If grantees need additional space to report financial information, beyond
       what is available within the FFR, they should provide supplemental pages. These additional
       pages must indicate the following information at the top of each page: the PR/Award Number

1
  Note that a State-funded institution of higher education is not considered a “State government” for these purposes;
and a Tribal college or university funded by a federally-recognized Tribe is not considered a Tribe for these
purposes.
2
  Note that a State-funded institution of higher education is not considered a “State government” for these purposes.

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 also known as the Federal Identifying Number or FAIN, recipient organization, Unique Entity
 Identifier, Employer Identification Number (EIN), and period covered by the report.




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                     AN OVERVIEW OF SINGLE AUDIT REQUIREMENTS OF STATES,
                     LOCAL GOVERNMENTS, AND NONPROFIT ORGANIZATIONS

This GAN ATTACHMENT is not applicable to for-profit organizations. For-profit organizations
comply with audit requirements specified in block 10 of their Grant Award Notification
(GAN).

Summary of Single Audit Requirements for States, Local Governments and Nonprofit
Organizations:

      1. Single Audit. A non-Federal entity (a State, local government, Indian tribe,
         Institution of Higher Education (IHE) 1, or nonprofit organization) that expends
         $750,000 or more during the non-Federal entity’s fiscal year in Federal awards must
         have a single audit conducted in accordance with 2 CFR 200.501, “Audit
         Requirements,” except when it elects to have a program specific audit conducted.

      2. Program-specific audit election. When an auditee expends Federal awards under
         only one Federal program (excluding research and development (R&D)), and the
         Federal program’s statutes, regulations, or the terms and conditions of the Federal
         award do not require a financial statement audit of the auditee, the auditee may
         elect to have a program–specific audit conducted. A program–specific audit may
         not be elected for R&D unless all of the Federal awards expended were received
         from the same Federal agency, or the same Federal agency and the same pass-
         through entity, and that Federal agency, or pass-through entity in the case of a
         subrecipient, approves in advance a program-specific audit.

      3. Exemption when Federal awards expended are less than $750,000. A non-Federal
         entity that expends less than $750,000 during the non-Federal entity’s fiscal year in
         Federal awards is exempt from Federal audit requirements for that year, except as
         noted in 2 CFR 200.503, but records must be available for review or audit by
         appropriate officials of the Federal agency, pass-through entity, and Government
         Accountability Office (GAO). Generally, grant records must be maintained for a
         period of three years after the date of the final expenditure report (2 CFR § 200.334)

      4. Federally Funded Research and Development Centers (FFRDC). Management of an
         auditee that owns or operates a FFRDC may elect to treat the FFRDC as a separate
         entity.

      5. Report Submission. To meet audit requirements of U.S. Office of Management and
         Budget (OMB) Uniform Guidance: Cost Principles, Audit, and Administrative
         Requirements for Federal Awards (Uniform Guidance), grantees must submit all
         audit documents required by Uniform Guidance 2 CFR 200.512, including Form SF-
         SAC: Data Collection Form electronically to the Federal Audit Clearinghouse at:


1
    As defined under the Higher Education Act of 1965, as amended (HEA) section 101.
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        https://facides.census.gov/Account/Login.aspx.

        The audit must be completed, and the data collection form and reporting package
        must be submitted within the earlier of 30 calendar days after receipt of the
        auditor’s report(s), or nine months after the end of the audit period. If the due date
        falls on a Saturday, Sunday, or Federal holiday, the reporting package is due the next
        business day. Unless restricted by Federal statutes or regulations, the auditee must
        make copies available for public inspection. Auditees and auditors must ensure that
        their respective parts of the reporting package do not include protected personally
        identifiable information. (2 CFR 200.512)

Grantees are strongly urged to obtain the “OMB Compliance Supplement” and to contact their
cognizant agency for single audit technical assistance.

The designated cognizant agency for single audit purposes is “the Federal awarding agency that provides
the predominant amount of direct funding to the recipient.” Grantees should obtain a copy of the OMB
Compliance supplement. This supplement will be instructive to both grantees and their auditors.
Appendix III of the supplement provides a list of Federal Agency Contacts for Single Audits, including
addresses, phone numbers, fax numbers, and e-mail addresses for technical assistance.

For single audit-related questions, if the U.S. Department of Education is the cognizant agency, grantees
should contact the Non-Federal Audit Team in the Department’s Office of Inspector General, at oignon-
federalaudit@ed.gov. Additional resources for single audits are also available on the Non-Federal Audit
Team’s website at https://www2.ed.gov/about/offices/list/oig/nonfed/index.html. For programmatic
questions, grantees should contact the education program contact shown on the Department’s GAN.

Grantees can obtain information on single audits from:

The OMB website at www.omb.gov. Look under Office of Management and Budget (in right column)
then click Office of Federal Financial Management (to obtain OMB Compliance Supplement). The SF-
SAC: Data Collection Form can be found at the Federal Audit Clearinghouse at:
https://facides.census.gov/Files/2019-2021%20Checklist%20Instructions%20and%20Form.pdf.

The American Institute of Certified Public Accountants (AICPA) has illustrative OMB Single Audit
report examples that might be of interest to accountants, auditors, or financial staff at
www.aicpa.org.




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                        REQUEST FOR APPROVAL OF PROGRAM INCOME

In projects that generate program income, the recipient calculates the amount of program income
according to the guidance given in 2 CFR Part 200.307.


*** IF YOU RECEIVED YOUR GRANT AWARD NOTIFICATION ELECTRONICALLY AND YOU ARE SUBJECT
TO ANY OF THE RESTRICTIONS IDENTIFIED BELOW, THE RESTRICTION(S) WILL APPEAR IN BOX 10 ON
YOUR GRANT AWARD NOTIFICATION AS A GRANT TERM OR CONDITION OF THE AWARD. ***


Unless checked below as NOT ALLOWED, the recipient may exercise any of the options or combination
of options, as provided in 2 CFR Part 200.307, for using program income generated in the course of the
recipient's authorized project activities:

_____ Not Allowed Adding program income to funds committed to the project by the Secretary and
     recipient and using it to further eligible project or program objectives;

_____ Not Allowed Using program income to finance the non-Federal share of the project or program;
      and

_____ Not Allowed Deducting program income from the total allowable cost to determine the net
     allowable costs.




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                                  TRAFFICKING IN PERSONS

The Department of Education adopts the requirements in the Code of Federal Regulations at 2
CFR 175 and incorporates those requirements into this grant through this condition. The grant
condition specified in 2 CFR 175.15(b) is incorporated into this grant with the following changes.
Paragraphs a.2.ii.B and b.2. ii. are revised to read as follows:

        “a.2.ii.B. Imputed to you or the subrecipient using the standards and due
        process for imputing the conduct of an individual to an organization that are
        provided in 34 CFR part 85.”

        “b.2. ii. Imputed to the subrecipient using the standards and due process for
        imputing the conduct of an individual to an organization that are provided in
        34 CFR part 85.”

Under this condition, the Secretary may terminate this grant without penalty for any violation of
these provisions by the grantee, its employees, or its subrecipients.




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                         FEDERAL FUNDING ACCOUNTABILITY TRANSPARENCY ACT
                         REPORTING SUBAWARDS AND EXECUTIVE COMPENSATION

The Federal Funding Accountability and Transparency Act (FFATA) is designed to increase transparency
and improve the public’s access to Federal government information. To this end, FFATA requires that
Department of Education (Department) grant recipients:

    1. Report first-tier subawards made under Federal grants that are funded at $30,000 or more that
       meet the reporting conditions as set forth in this grant award term;
    2. Report their executives’ compensation for all new Federal grants that are funded at $30,000 and
       that meet the reporting conditions as set forth in this grant award term; and
    3. Report executive compensation data for their first-tier subrecipients that meet the reporting
       conditions as set forth in this grant award term.

For FFATA reporting purposes, the Department grant recipient is the entity listed in box 1 of the Grant
Award Notification.

Only first-tier subawards made by the Department grant recipient to its first-tier subrecipients and the
first-tier subrecipients’ executive compensation are required to be reported in accordance with FFATA.

Subaward, Subrecipient, Recipient, Total Compensation, Executives, and other key terms, are defined
within item 5, Definitions, of this grant award term.

This grant award term is issued in accordance with 2 CFR Part 170—Reporting Subaward And Executive
Compensation Information.

    1. Reporting of First-tier Subawards -

    a. Applicability and what to report.

        Unless you are exempt as provided item 4, Exemptions, of this grant award term, you must
        report each obligation that equals or exceeds $30,000 in Federal funds for a first-tier subaward
        to a non-Federal entity or Federal agency.

        You must report the information about each obligating action that are specified in the
        submission instructions posted at FSRS.

    b. Where and when to report.

        The Department grant recipient must report each obligating action described in paragraph 1.a.
        of this award term to FSRS.

        Report subaward information no later than the end of the month following the month in which
        the subaward obligation was made. For example, if the obligation was made on November 7,
        2020, the obligation must be reported by no later than December 31, 2020.

    2. Reporting Total Compensation of the Department’s Grant Recipients’ Executives -


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a. Applicability and what to report.

        You must report total compensation for each of your five most highly compensated executives
        for the preceding completed fiscal year, if—

        i    The total Federal funding authorized to date under this Federal award equals or exceeds
             $30,000;

        ii   In the preceding fiscal year, you received—

             A. 80 percent or more of your annual gross revenues from Federal procurement contracts
                (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                defined at 2 CFR 170.320 (and subawards), and
             B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                subcontracts) and Federal financial assistance subject to the Transparency Act, as
                defined at 2 CFR 170.320 (and subawards); and,
             C. The public does not have access to information about the compensation of the
                executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                Code of 1986. (To determine if the public has access to the compensation information,
                see the U.S. Security and Exchange Commission total compensation filings at SEC
                Investor.gov Executive Compensation.)

b. Where and when to report.

        You must report executive total compensation described in paragraph 2.a. of this grant award
        term:

  i.         As part of your registration profile at SAM.gov.

  ii.        By the end of the month following the month in which this award is made (for example, if
             the obligation was made on November 7, 2020 the executive compensation must be
             reported by no later than December 31, 2020), and annually thereafter.

3. Reporting of Total Compensation of Subrecipient Executives –

a. Applicability and what to report.

        Unless you are exempt as provided in item 4, Exemptions, of this award term, for each first-tier
        non-Federal entity subrecipient under this award, you shall report the names and total
        compensation of each of the subrecipient's five most highly compensated executives for the
        subrecipient's preceding completed fiscal year, if—

  i.         In the subrecipient's preceding fiscal year, the subrecipient received—




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           A. 80 percent or more of its annual gross revenues from Federal procurement contracts
              (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
              defined at 2 CFR 170.320 (and subawards), and
           B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
              subcontracts) and Federal financial assistance subject to the Transparency Act, as
              defined at 2 CFR 170.320 (and subawards); and,
           C. The public does not have access to information about the compensation of the
              executives through periodic reports filed under section 13(a) or 15(d) of the Securities
              Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
              Code of 1986. (To determine if the public has access to the compensation information,
              see the U.S. Security and Exchange Commission total compensation filings at SEC
              Investor.gov Executive Compensation.)

b. Where and when to report.

        You must report subrecipient executive total compensation described in paragraph 3.a. of this
        grant award term:

  i.       In FSRS. You must include a condition on subawards that requires the subrecipients to
           timely report the information required under paragraph 3.a. to you the prime awardee, or
           in the SAM.gov. Subrecipient executive compensation entered in SAM.gov by the
           subrecipient will pre-populate in FSRS, so you do not have to report when subrecipients
           enter this information in SAM.gov. Subrecipient executive compensation not entered in
           SAM.gov by the subrecipient is reported in FSRS by you the Department grant recipient.

  ii.      By the end of the month following the month during which you make the subaward. For
           example, if the subaward obligation was made on November 7, 2020 the subrecipient’s
           executive compensation must be reported by no later than December 31, 2020.

4. Exemptions –

a. If, in the previous tax year, you had gross income, from all sources, under $300,000, you are
   exempt from the requirements to report:

  i.       Subawards, and

  ii.      The total compensation of the five most highly compensated executives of any subrecipient.

5. Definitions -

a. For purposes of this award term:

  i.       Federal Agency means a Federal agency as defined at 5 U.S.C. 551(1) and further clarified by
           5 U.S.C. 552(f).

  ii.      Non-Federal Entity means all of the following, as defined in 2 CFR part 25:

           A Governmental organization, which is a State, local government, or Indian tribe;

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       A foreign public entity;

       A domestic or foreign nonprofit organization; and,

       A domestic or foreign for-profit organization

iii.   Executive means officers, managing partners, or any other employees in management
       positions.

iv.    Obligation, when used in connection with a non-Federal entity's utilization of funds under a
       Federal award, means orders placed for property and services, contracts and subawards
       made, and similar transactions during a given period that require payment by the non-
       Federal entity during the same or a future period.

 v.    Subaward:

       This term means a legal instrument to provide support for the performance of any portion
       of the substantive project or program for which you received this award and that you as the
       recipient award to an eligible subrecipient.

       The term does not include your procurement of property and services (such as payments to
       a contractor, small purchase agreements, vendor agreements, and consultant agreements)
       that are needed for the benefit of the prime awardee to carry out the project or program
       (for further explanation, see 2 CFR 200.331). For example, the following are not considered
       subawards:

           Cleaning Vendors: Vendors that are hired by a grantee to clean its facility.
           Payroll Services Vendors: Vendors that carryout payroll functions for the grantee.
           Information Technology Vendors: Vendors that provide IT support to grant staff.

       Payments to individuals that are beneficiaries of Federal programs are not considered
       subawards.

       A subaward may be provided through any legal agreement, including an agreement that you
       or a subrecipient considers a contract.

 v.    Subrecipient means a non-Federal entity or Federal agency that:

       Receives a subaward from you (the recipient) under this award; and

       Is accountable to you for the use of the Federal funds provided by the subaward.

       In accordance with its subaward, uses the Federal funds to carry out a program for a public
       purpose specified in authorizing statute, as opposed to providing goods or services for the
       benefit of the Department prime awardee.



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vii.    Recipient means a non-Federal entity that receives a Federal award directly from a Federal
        awarding agency to carry out an activity under a Federal program. The term recipient does
        not include subrecipients. See also §200.69 Non-Federal entity.
viii.   Total compensation means the cash and noncash dollar value earned by the executive
        during the recipient's or subrecipient's preceding fiscal year and includes the following (for
        more information see 17 CFR 229.402(c)(2)):

        Salary and bonus.

        Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
        recognized for financial statement reporting purposes with respect to the fiscal year in
        accordance with the Statement of Financial Accounting Standards No. 123 (Revised 2004)
        (FAS 123R), Shared Based Payments.

        Earnings for services under non-equity incentive plans. This does not include group life,
        health, hospitalization, or medical reimbursement plans that do not discriminate in favor of
        executives and are available generally to all salaried employees.

        Change in pension value. This is the change in present value of defined benefit and actuarial
        pension plans.

        Above-market earnings on deferred compensation which is not tax-qualified.

        Other compensation, if the aggregate value of all such other compensation (e.g., severance,
        termination payments, value of life insurance paid on behalf of the employee, perquisites,
        or property) for the executive exceeds $10,000.




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                           SPECIFIC CONDITIONS FOR DISCLOSING
                       FEDERAL FUNDING IN PUBLIC ANNOUNCEMENTS

When issuing statements, press releases, requests for proposals, bid solicitations and other
documents describing projects or programs funded in whole or in part with Federal money, U.S.
Department of Education grantees shall clearly state:

        1) the percentage of the total costs of the program or project which will be financed with
           Federal money;

        2) the dollar amount of Federal funds for the project or program; and

        3) the percentage and dollar amount of the total costs of the project or program that will
           be financed by non-governmental sources.

Recipients must comply with these conditions under Division H, Title V, Section 505 of Public Law 116-
260, Consolidated Appropriations Act, 2021.




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                                                                           GAN ATTACHMENT 12
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    PROHIBITION OF TEXT MESSAGING AND EMAILING WHILE DRIVING
              DURING OFFICIAL FEDERAL GRANT BUSINESS

 Federal grant recipients, sub recipients and their grant personnel are prohibited from text
 messaging while driving a government owned vehicle, or while driving their own privately-
 owned vehicle during official grant business, or from using government supplied electronic
 equipment to text message or email when driving.


 Recipients must comply with these conditions under Executive Order 13513,
 “Federal Leadership on Reducing Text Messaging While Driving,” October 1,
 2009.




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           REGISTRATION OF UNIQUE ENTITY IDENTIFIER (UEI) NUMBER AND TAXPAYER
        IDENTIFICATION NUMBER (TIN) IN THE SYSTEM FOR AWARD MANAGEMENT (SAM)


The U.S. Department of Education (Department) Grants Management System (G5) disburses payments
via the U.S. Department of Treasury (Treasury). The U.S. Treasury requires that we include your Tax
Payer Identification Number (TIN) with each payment. Therefore, in order to do business with the
Department you must have a registered Unique Entity Identifier (UEI) and TIN number with the SAM,
the U.S. Federal Government’s primary registrant database. If the payee UEI number is different than
your grantee UEI number, both numbers must be registered in the SAM. Failure to do so will delay the
receipt of payments from the Department.

A TIN is an identification number used by the Internal Revenue Service (IRS) in the administration of tax
laws. It is issued either by the Social Security Administration (SSA) or by the IRS. A Social Security
number (SSN) is issued by the SSA whereas all other TINs are issued by the IRS.

The following are all considered TINs according to the IRS.

    •    Social Security Number "SSN"
    •    Employer Identification Number "EIN"
    •    Individual Taxpayer Identification Number "ITIN"
    •    Taxpayer Identification Number for Pending U.S. Adoptions "ATIN"
    •    Preparer Taxpayer Identification Number "PTIN"

If your UEI number is not currently registered with the SAM, you can easily register by going to
www.sam.gov. Please allow 3-5 business days to complete the registration process. If you need a new
TIN, please allow 2-5 weeks for your TIN to become active. If you need assistance during the
registration process, you may contact the SAM Federal Service Desk at 866-606-8220.

If you are currently registered with SAM, you may not have to make any changes. However, please take
the time to validate that the TIN associated with your UEI is correct.

If you have any questions or concerns, please contact the G5 Hotline at 888-336-8930.




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                                                                                 GAN ATTACHEMENT 14
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      SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS

1. Requirement for System for Award Management (SAM)

Unless you are exempted from this requirement under 2 CFR 25.110, you are, in accordance with your
grant program's Notice Inviting Applications, required to maintain an active SAM registration with
current information about your organization, including information on your immediate and highest level
owner and subsidiaries, as well as on all predecessors that have been awarded a Federal contract or
grant within the last three years, if applicable, at all times during which you have an active Federal
award or an application or plan under consideration by a Federal awarding agency. To remain
registered in the SAM database after your initial registration, you are required to review and update
your information in the SAM database on an annual basis from the date of initial registration or
subsequent updates to ensure it is current, accurate and complete.


2. Requirement for Unique Entity Identifier (UEI) Numbers

If you are authorized to make subawards under this award, you:

1. Must notify potential subrecipients that they may not receive a subaward from you unless they
   provided their UEI number to you.
2. May not make a subaward to a subrecipient when the subrecipient fails to provide its UEI number to
   you.

3. Definitions

For purposes of this award term:

1. System for Award Management (SAM) means the Federal repository into which a recipient must
   provide information required for the conduct of business as a recipient. Additional information
   about registration procedures may be found at the SAM internet site (currently at
   https://www.sam.gov).

2. Unique Entity Identifier (UEI) means the identifier assigned by SAM registration to uniquely identify
   business entities.

3. Recipient means a non-Federal entity that receives a Federal award directly from a Federal awarding
   agency to carry out an activity under a Federal program. The term recipient does not include
   subrecipients. See 2 CFR 200.86.

4. Subaward means an award provided by a pass-through entity to a subrecipient for the subrecipient
   to carry out part of a Federal award received by the pass-through entity. It does not include
   payments to a contractor or payments to an individual that is a beneficiary of a Federal program. A
   subaward may be provided through any form of legal agreement, including an agreement that the
   pass-through entity considers a contract. See 2 CFR 200.92.
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5. Subrecipient means a non-Federal entity that receives a subaward from a pass-through entity to
   carry out part of a Federal program; but does not include an individual that is a beneficiary of such
   program. A subrecipient may also be a recipient of other Federal awards directly from a Federal
   awarding agency. See 2 CFR 200.93.




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KEY FINANCIAL MANAGEMENT REQUIREMENTS FOR DISCRETIONARY GRANTS
             AWARDED BY THE DEPARTMENT OF EDUCATION

The Department expects grantees to administer Department grants in accordance with
generally accepted business practices, exercising prudent judgment so as to maintain
proper stewardship of taxpayer dollars. This includes using fiscal control and fund
accounting procedures that insure proper disbursement of and accounting for Federal
funds. In addition, grantees may use grant funds only for obligations incurred during
the funding period.

Title 2 of the Code of Federal Regulations Part 200, “Uniform Administrative
Requirements, Cost Principles, and Audit Requirements for Federal Awards,” establishes
requirements for Federal awards made to non-Federal entities. The Education
Department General Administrative Regulations in 34 CFR (EDGAR) 75, 76, 77, 79, 81,
82, 84, 86, 97, 98, and 99 contain additional requirements for administering
discretionary grants made by this Department. The most recent version of these
regulations may be accessed at the following URLs:

The Education Department General Administrative Regulations (EDGAR)

2 CFR Part 200 Uniform Administrative Requirements, Cost Principles, and Audit
Requirements for Federal Awards

The information on page 2, "Selected Topics in Administering Department Discretionary
Grants," highlights major administrative requirements of 2 CFR Part 200. In addition, a
few of the topics discuss requirements that the Department imposes on its discretionary
grantees under EDGAR, Part 75 (Direct Grants). The specific sections of 2 CFR Part 200
and of EDGAR that address the topics discussed are shown in parentheses. The
Department urges grantees to read the full text of these and other topics in EDGAR and
in 2 CFR Part 200.

Grantees are reminded that a particular grant might be subject to additional
requirements of the authorizing statute for the program that awarded the grant and/or
any regulations issued by the program office. Grantees should become familiar with
those requirements as well, because program-specific requirements might differ from
those in 2 CFR Part 200 and in EDGAR.

The Department recommends that the project director and the fiscal management staff
of a grantee organization communicate frequently with each other about the grant
budget. Doing so will help to assure that you use Federal funds only for those
expenditures associated with activities that conform to the goals and objectives
approved for the project.

Grantees may direct any questions regarding the topics discussed on page 2, "Selected
Topics in Administering Department Discretionary Grants,"or about any other aspect of
administering your grant award to the Department program staff person named in Block
3 of the Grant Award Notification.


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       SELECTED TOPICS IN ADMINISTERING DEPARTMENT DISCRETIONARY GRANTS

I.       Financial Management Systems (2 CFR Part 200.302)

In general, grantees are required to have financial management systems that:

         ∗   provide for accurate, current, and complete disclosure of results regarding
             the use of funds under grant projects;
         ∗   provide adequate source documentation for Federal and non-Federal funds
             used under grant projects;
         ∗   contain procedures to determine the allowability, allocability, and
             reasonableness of obligations and expenditures made by the grantee; and
         ∗   enable the grantee to maintain effective internal control and fund
             accountability procedures, e.g., requiring separation of functions so that the
             person who makes obligations for the grantee is not the same person who
             signs the checks to disburse the funds for those obligations.

State systems must account for funds in accordance with State laws and procedures that
apply to the expenditure of and the accounting for a State's own funds. A State's
procedures, as well as those of its subrecipients and cost-type contractors, must be
sufficient to permit the preparation of reports that may be required under the award as
well as provide the tracing of expenditures to a level adequate to establish that award
funds have not been used in violation of any applicable statutory restrictions or
prohibitions.

II.      Federal Payment (2 CFR Part 200.305)

Under this part --

         ∗   the Department pays grantees in advance of their expenditures if the
             grantee demonstrates a willingness and ability to minimize the time
             between the transfer of funds to the grantee and the disbursement of the
             funds by the grantee;
         ∗   grantees repay to the Federal government interest earned on advances; and
         ∗    grantees, generally, must maintain advance payments of Federal awards in
             interest bearing accounts.


In general, grantees should make payment requests frequently, only for small
amounts sufficient to meet the cash needs of the immediate future.

The Department has recently encountered situations where grantees failed to request
funds until long after the grantee actually expended its own funds for the costs of its
grant. Grantees need to be aware that, by law, Federal funds are available for grantees
to draw down for only a limited period of time, after which the funds revert to the U.S.
Treasury. In some cases grantees have requested funds too late for the Department to
be able to pay the grantees for legitimate costs incurred during their project periods.


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The Department urges financial managers to regularly monitor requests for payment
under their grants to assure that Federal funds are drawn from the Department G5
Payment System at the time those funds are needed for payments to vendors and
employees.

III.    Personnel (EDGAR §§ 75.511-75.519 and 2 CFR Part 200 Subpart D and E)

The rules governing personnel costs are located in EDGAR Part 75 and 2 CFR Part 200
Subparts D and E. Part 75 covers issues such as paying consultants with grant funds,
prohibiting dual compensation of staff, and waiving the requirement for a full-time
project director. The rules clarifying changes in key project staff are located in 2 CFR
Part 200.308 (c)(2). General rules governing reimbursement of salaries and
compensation for staff working on grant projects are addressed in the cost principles in
2 CFR Part 200 Subpart D and E. In all cases, payments of any type to personnel must be
supported by complete and accurate records of employee time and effort. For those
employees that work on multiple functions or separately funded programs or projects,
the grantee must also maintain time distribution records to support the allocation of
employee salaries among each function and separately funded program or project.

IV.     Cost Principles (2 CFR Part 200 Subpart E)

All costs incurred under any grant are subject to the cost principles found in 2 CFR Part
200 Subpart E. The cost principles provide lists of selected items of allowable and
unallowable costs, and must be used in determining the allowable costs of work
performed under the grant.

V.      Procurement Standards (2 CFR Part 200.317-327)

Under 2 CFR Part 200.317, States are required to follow the procurement rules the
States have established for purchases funded by non-Federal sources. When procuring
goods and services for a grant’s purposes, all other grantees may follow their own
procurement procedures, but only to the extent that those procedures meet the
minimum requirements for procurement specified in the regulations. These
requirements include written competition procedures and codes of conduct for grantee
staff, as well as requirements for cost and price analysis, record-keeping and contractor
compliance with certain Federal laws and regulations. These regulations also require
grantees to include certain conditions in contracts and subcontracts, as mandated by
the regulations and statutes.

VI.     Indirect Costs (EDGAR §§75.560-564 and 2 CFR Part 200.414)

In addition to the information presented beslow, see GAN ATTACHMENT 4 for addional
information including restrictions related to temporary, de minimis, training, restricted,
and program prescribed indirect cost rates.

A. Unrestricted Indirect Cost Rate

To utilize an unrestricted indirect cost rate, a grantee must have an indirect cost agreement with
its cognizant agency, submit an indirect cost rate proposal to its cognizant agency for indirect

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costs (cognizant agency) within 90 days after the award of this grant or elect to utilize the de
minimis rate under 2 CFR § 200.414(f) or the temporary indirect cost rate (subject to limitations
described below).

The grantee must provide proof of its negotiated indirect cost rate agreement to the
Department as soon as it has signed such an agreement with its cognizant agency.

B. Temporary Indirect Cost Rate

A grantee that does not have a current negotiated indirect cost rate agreement may recover
indirect costs at a temporary rate, which is limited to 10% of budgeted direct salaries and wages
(See 34 CFR § 75.560(c)); or it may choose not to charge indirect costs to the grant. The
temporary rate can only be used for 90 days unless the exceptional circumstances apply under
34 CFR § 75.560(d)(2).

If the grantee has not submitted its indirect cost proposal to its cognizant agency within the 90-
day period, it may no longer recover indirect costs utilizing the temporary indirect cost rate until
it has negotiated an indirect cost rate agreement with its cognizant agency. Once a grantee
obtains a federally recognized indirect cost rate that is applicable to this grant, the grantee may
use that indirect cost rate to claim indirect cost reimbursement.

C. De minimis Indirect Cost Rate

Institutions of Higher Education (IHEs), federally-recognized Indian Tribes, State and Local
Governments 1 receiving less than $35 million in direct federal funding, and nonprofit
organizations, if they do not have a current negotiated (including provisional) rate, and are not
subject to the Department’s training rate or restricted rate (supplement-not-supplant
provisions) may elect to charge a de minimis indirect cost rate of 10% of modified total direct
costs (MTDC). This rate may be used indefinitely.

MTDC consists of all direct salaries and wages, applicable fringe benefits, materials and supplies,
services, travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
subgrant). MTDC excludes equipment, capital expenditures, charges for patient care, rental
costs, tuition remission, scholarships and fellowships, participant support costs and the portion
of each subaward in excess of $25,000. Other items, including contract costs in excess of
$25,000, may be excluded when necessary to avoid a serious inequity in the distribution of
indirect costs (see definition of MTDC at 2 CFR § 200.1).

Additionally, the de minimis rate may not be used by grantees that are subject to the
Department’s training indirect cost rate (34 CFR § 75.562) or restricted indirect cost rate. The de
minimis rate may be used indefinitely. However, if a grantee chooses to use the de minimis rate
to recover indirect costs, it must do so for all of its Federal awards until such time as the grantee
negotiates an indirect cost rate with its cognizant agency. Once a grantee obtains a federally
recognized indirect cost rate that is applicable to this grant, the grantee may use that indirect
cost rate to claim indirect cost reimbursement.

1
 Note that a State-funded institution of higher education is not considered a “State government” for
these purposes.


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D. Programs with a Supplement-not-supplant requirement (restricted indirect cost rate)

A restricted program (i.e., programs with statutory supplement-not-supplant requirements)
grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
negotiated.

E. Training Grant Indirect Cost Rate

If the grantee is a training grant recipient and is not a State, local, or Tribal government 3, the
grantee must negotiate a rate under 34 CFR 75.562. This provision limits indirect cost recovery
to 8% of modified total direct costs or the grantees negotiated indirect cost rate, whichever is
less.

The recovery using the training grant indirect cost rate is subject to the following limitations:

     i.    The lesser of the 8% indirect cost rate or negotiated indirect cost rate also applies to
           sub-awards that fund training.
     ii.   The 8% limit does not apply to agencies of Indian tribal governments, local
           governments, and States as defined in 2 CFR § 200.1, respectively.
    iii.   Indirect costs in excess of the 8% limit may not be charged directly, used to satisfy
           matching or cost-sharing requirements, or charged to another Federal award.
    iv.    A grantee using the training rate of 8% is required to have documentation available for
           audit that shows that its negotiated indirect cost rate is at least 8%.

F. Program-Specific Indirect Cost Rate

Grantees are required to follow program-specific statutory or regulatory requirements that
mandate either indirect cost rate type or maximum administrative costs recovery instead of the
general requirements described here.

VII.       Audit Requirements (2 CFR Part 200 Subpart F)

2 CFR 200 Subpart F requires that grantees that are non-Federal entities (a State, local
government, Indian tribe, IHE, or nonprofit organization that carries out a Federal award
as a recipient or subrecipient) obtain a non-Federal audit of their expenditures under
their Federal grants if the grantee expends more than $750,000 in Federal funds in one
fiscal year. 2 CFR Part 200 Subpart F contains the requirements imposed on grantees for

2
  Note that a State-funded institution of higher education is not considered a “State government” for
these purposes.
3
  Note that a State-funded institution of higher education is not considered a “State government” for
these purposes; and a Tribal college or university funded by a federally-recognized Tribe is not considered
a Tribe for these purposes.

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audits done in connection with the law.

The Department recommends hiring auditors who have specific experience in auditing
Federal awards under the regulations and the Compliance Supplement.

VIII.   Other Considerations

Some other topics of financial management covered in 2 CFR Part 200 that might affect
particular grants include program income (2 CFR Part 200.307), cost sharing or matching
(2 CFR Part 200.306), property management requirements for equipment and other
capital expenditures (2 CFR Parts 200.313, 200.439).




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                         MEMORANDUM TO ED DISCRETIONARY GRANTEES

You are receiving this memorandum to remind you of Federal requirements, found in 2 CFR Part 200, Uniform
Administrative Requirements, Cost Principles, and Audit Requirements, regarding cash drawdowns under your
grant account.

For any cash that you draw from your Department of Education (the Department) grant account, you
must:

•    draw down only as much cash as is necessary to meet the immediate needs of the grant project;
•    keep to the minimum the time between drawing down the funds and paying them out for grant
             activities; and
•    return to the Government the interest earned on grant funds deposited in interest-bearing bank
     accounts except for a small amount of interest earned each year that your entity is allowed to keep to
     reimburse itself for administrative expenses).

In order to meet these requirements, you are urged to:

•    take into account the need to coordinate the timing of drawdowns with prior internal clearances (e.g., by
     boards, directors, or other officials) when projecting immediate cash needs so that funds drawn down
     from ED do not stay in a bank account for extended periods of time while waiting for approval;
•    monitor the fiscal activity (drawdowns and payments) under your grant on a continuous basis;
•    plan carefully for cash flow in your grant project during the budget period and review project cash
     requirements before each drawdown; and
•    pay out grant funds for project activities as soon as it is practical to do so after receiving cash from the
     Department.

Keep in mind that the Department monitors cash drawdown activity for all grants. Department staff will
contact grantees who appear to have drawn down excessive amounts of cash under one or more grants
during the fiscal quarter to discuss the particular situation. For the purposes of drawdown monitoring, the
Department will contact grantees who have drawn down 50% or more of the grant in the first quarter,
80% or more in the second quarter, and/or 100% of the cash in the third quarter of the budget period.
However, even amounts less than these thresholds could still represent excessive drawdowns for your
particular grant activities in any particular quarter. Grantees determined to have drawn down excessive
cash will be required to return the excess funds to the Department, along with any associated earned
interest, until such time as the money is legitimately needed to pay for grant activities. If you need
assistance with returning funds and interest, please contact the Department’s G5 Hotline by calling 1-888-
336-8930.

Grantees that do not follow Federal cash management requirements and/or consistently appear on the
Department's reports of excessive drawdowns could be:

•    subjected to specific award conditions or designated as a "high-risk" grantee [2 CFR Part 200.208
     and 2 CFR 3474.10], which could mean being placed on a "cash-reimbursement" payment method
     (i.e., a grantee would experience the inconvenience of having to pay for grant activities with its
     own money and waiting to be reimbursed by the Department afterwards);
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•   subject to further corrective action;
•   denied selection for funding on future ED grant applications [EDGAR 75.217(d)(3)(ii)]; and/or
•   debarred or suspended from receiving future Federal awards from any executive agency of the Federal
    government.

You are urged to read 2 CFR Part 200.305 to learn more about Federal requirements related to grant payments
and to determine how to apply these requirements to any subgrantees. You are urged to make copies of this
memorandum and share it with all affected individuals within your organization.




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                    THE USE OF GRANT FUNDS FOR CONFERENCES AND MEETINGS

You are receiving this memorandum to remind you that grantees must take into account the following factors when
considering the use of grant funds for conferences and meetings:
       • Before deciding to use grant funds to attend or host a meeting or conference, a grantee should:
               o Ensure that attending or hosting a conference or meeting is consistent with its approved
                   application and is reasonable and necessary to achieve the goals and objectives of the grant;
               o Ensure that the primary purpose of the meeting or conference is to disseminate technical
                   information, (e.g., provide information on specific programmatic requirements, best
                   practices in a particular field, or theoretical, empirical, or methodological advances made in
                   a particular field; conduct training or professional development; plan/coordinate the work
                   being done under the grant); and
               o Consider whether there are more effective or efficient alternatives that can accomplish the
                   desired results at a lower cost, for example, using webinars or video conferencing.
       • Grantees must follow all applicable statutory and regulatory requirements in determining whether
           costs are reasonable and necessary, especially the Cost Principles for Federal grants set out at 2 CFR
           Part 200 Subpart E of the, “Uniform Administrative Requirements, Cost Principles, and Audit
           Requirements for Federal Awards.” In particular, remember that:
               o Federal grant funds cannot be used to pay for alcoholic beverages; and
               o Federal grant funds cannot be used to pay for entertainment, which includes costs for
                   amusement, diversion, and social activities.
       • Grant funds may be used to pay for the costs of attending a conference. Specifically, Federal grant
           funds may be used to pay for conference fees and travel expenses (transportation, per diem, and
           lodging) of grantee employees, consultants, or experts to attend a conference or meeting if those
           expenses are reasonable and necessary to achieve the purposes of the grant.
               o When planning to use grant funds for attending a meeting or conference, grantees should
                   consider how many people should attend the meeting or conference on their behalf. The
                   number of attendees should be reasonable and necessary to accomplish the goals and
                   objectives of the grant.
       • A grantee hosting a meeting or conference may not use grant funds to pay for food for conference
           attendees unless doing so is necessary to accomplish legitimate meeting or conference business.
               o A working lunch is an example of a cost for food that might be allowable under a Federal
                   grant if attendance at the lunch is needed to ensure the full participation by conference
                   attendees in essential discussions and speeches concerning the purpose of the conference
                   and to achieve the goals and objectives of the project.
       • A meeting or conference hosted by a grantee and charged to a Department grant must not be
           promoted as a U.S. Department of Education conference. This means that the seal of the U.S.
           Department of Education must not be used on conference materials or signage without Department
           approval.




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         o   All meeting or conference materials paid for with grant funds must include appropriate
             disclaimers, such as the following:
                 The contents of this (insert type of publication; e.g., book,
                 report, film) were developed under a grant from the
                 Department of Education. However, those contents do not
                 necessarily represent the policy of the Department of
                 Education, and you should not assume endorsement by the
                 Federal Government.
•    Grantees are strongly encouraged to contact their project officer with any questions or concerns
     about whether using grant funds for a meeting or conference is allowable prior to committing grant
     funds for such purposes.
         o A short conversation could help avoid a costly and embarrassing mistake.
•    Grantees are responsible for the proper use of their grant awards and may have to repay funds to
     the Department if they violate the rules on the use of grant funds, including the rules for meeting-
     and conference-related expenses.




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     MEMORANDUM TO REMIND DEPARTMENT OF EDUCATION GRANTEES OF EXISTING CASH
               MANAGEMENT REQUIREMENTS CONCERNING PAYMENTS

The Department of Education (Department) requires that its grantees adhere to existing cash
management requirements concerning payments and will ensure that their subgrantees are also aware
of these policies by providing them relevant information. A grantee’s failure to comply with cash
management requirements may result in an improper payment determination by the Department in
accordance with the Payment Integrity Information Act (PIIA) of 2019.

There are three categories of payment requirements that apply to the drawdown of funds from grant
accounts at the Department. The first two types of payments are subject to the requirements in the
Treasury Department regulations implementing the Cash Management Improvement Act (CMIA) of
1990, 31 U.S.C.6513, and the third is subject to the requirements in the Uniform Administrative
Requirements, Cost Principles, and Audit Requirements for Federal Awards (Uniform Guidance) at 2 CFR
part 200, 1 as follows:

    1.     Payments to a State under programs that are covered by a State’s Treasury State Agreement
           (TSA);

    2.     Payments to States under programs that are not covered by a TSA; and

    3.     Payments to other non-Federal entities, including nonprofit organizations and local
           governments.

CMIA Requirements Applicable to Programs included in a TSA

Generally, under the Treasury Department regulations implementing the CMIA, only major assistance
programs (large-dollar programs meeting thresholds in 31 CFR § 205.5) are included in a State’s written
TSA. See 31 CFR § 205, subpart A. Programs included in a TSA must use approved funding techniques
and both States and the Federal government are subject to interest liabilities for late payments. State
interest liabilities accrue from the day federal funds are credited to a State account to the day the State
pays out the federal funds for federal assistance program purposes. 31 CFR § 205.15. If a State makes a
payment under a Federal assistance program before funds for that payment have been transferred to
the State, Federal Government interest liabilities accrue from the date of the State payment until the
Federal funds for that payment have been deposited to the State account. 31 CFR § 205.14.

CMIA Requirements Applicable to Programs Not Included in a TSA

Payments to States under programs not covered by a State’s TSA are subject to subpart B of Treasury’s
regulations in 31 CFR § 205. These regulations provide that a State must minimize the time between the
drawdown of funds from the federal government and their disbursement for approved program
activities. The timing and amount of funds transfers must be kept to a minimum and be as close as is
administratively feasible to a State’s actual cash outlay for direct program costs and the proportionate
share of any allowable indirect costs. 31 CFR § 205.33(a). States should exercise sound cash
management in funds transfers to subgrantees.

1
    The Department adopted the Uniform Guidance as regulations of the Department at 2 CFR part 3474.

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Under subpart B, neither the States nor the Department owe interest to the other for late payments. 31
CFR § 205.33(b). However, if a State or a Federal agency is consistently late in making payments,
Treasury can require the program to be included in the State’s TSA. 31 CFR § 205.35.

Fund transfer requirements for grantees other than State governments and subgrantees

The transfer of Federal program funds to grantees other than States and to subgrantees are subject to
the payment and interest accrual requirements in the Uniform Guidance at 2 CFR § 200.305(b). These
requirements are like those in subpart B of the Treasury Department regulations in 31 CFR part 205,
requiring that “payments methods must minimize the time elapsing between the transfer of funds from
the United States Treasury or the pass-through entity and the disbursement by the non-Federal entity.”
2 CFR § 200.305(b) introduction.

The Federal Government and pass-through entities must make payments in advance of expenditures by
grantees and subgrantees if these non-Federal entities maintain, or demonstrate the willingness to
maintain, written procedures “that minimize the time elapsing between the transfer of funds and
disbursement by the non-Federal entity, and financial management systems that meet the standards for
fund control and accountability.” 2 CFR § 200.305(b)(1). If a grantee or subgrantee cannot meet the
criteria for advance payments, a Federal agency or pass-through entity can pay that entity through
reimbursement. See 2 CFR § 200.305(b)(1) and (4) for more detailed description of the payment
requirements and the standards for requiring that payments be made by reimbursement.

Non-Federal entities must maintain advance payments in interest bearing accounts unless certain
conditions exist. See 2 CFR § 200.305(b)(8) for those conditions. The requirements regarding interest
accrual and remittance follow:

Grantees and subgrantees must annually remit interest earned on federal advance payments except
that interest earned amounts up to $500 per year may be retained for administrative expense. Any
additional interest earned on Federal advance payments deposited in interest-bearing accounts must be
remitted annually to the Department of Health and Human Services Payment Management System
(PMS) through an electronic medium using either Automated Clearing House (ACH) network or a
Fedwire Funds Service payment. 2 CFR § 200.305(b)(9)(i) and (ii).

  1.    When returning interest through ACH Direct Deposit or Fedwire, grantees must include the
        following in their return transaction:

                 •   PMS Account Number (PAN). NOTE: The PAN is the same series of alpha-numeric
                     characters used for payment request purposes (e.g.: C1234G1).
                 •   PMS document number.
                 •   The reason for the return (e.g., interest, part interest part other, etc.).
                 •   An explanation stating that the refund is for interest payable to the Department of
                     Health and Human Services, and the grant number(s) for which the interest was
                     earned.

        a. U.S. Department of Education grantees are generally located and operate domestically and
           return interest domestically. Below is PSC ACH account information for interest returned



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            domestically. For international ACH interest returned, account information is available at:
            Returning Funds/Interest.

                 •   PSC ACH Routing Number is: 051036706
                 •   PSC DFI Accounting Number: 303000
                 •   Bank Name: Credit Gateway - ACH Receiver
                 •   Location: St. Paul, MN

        b. Service charges may be incurred from a grantee’s financial institution when a Fedwire to
           return interest is initiated. For FedWire returns, Fedwire account information is as follows:

                 •   Fedwire Routing Number: 021030004
                 •   Agency Location Code (ALC): 75010501
                 •   Bank Name: Federal Reserve Bank
                 •   Treas NYC/Funds Transfer Division
                 •   Location: New York, NY

  2.    Interest may be returned by check using only the U.S. Postal Service; however, returning
        interest via check may take 4-6 weeks for processing before a check payment may be applied to
        the appropriate PMS account.

        a. Interests returned by check are to be mailed (USPS only) to:

                 •   HHS Program Support Center
                     PO Box 979132
                     St. Louis, MO 63197

            A brief statement explaining the nature of the return must be included.

        b. To return interest on a grant not paid through the PMS, make the check payable to the
           Department of Health and Human Services, and include the following with the check:

                 •   An explanation stating that the refund is for interest
                 •   The name of the awarding agency
                 •   The grant number(s) for which the interest was earned
                 •   The return should be made payable to: Department of Health and Human Services.

  3.    For detailed information about how to return interest, visit the PSC Retuning Funds/Interest
        page at: Returning Funds/Interest

Grantees, including grantees that act as pass-through entities and subgrantees have other
responsibilities regarding the use of Federal funds. For example, all grantees and subgrantees must
have procedures for determining the allowability of costs for their awards. We highlight the following
practices related to the oversight of subgrantee compliance with the financial management
requirements in the Uniform Guidance that will assist State grantees (pass-through entities) in meeting
their monitoring responsibilities. Under 2 CFR § 200.332, pass-through entities must –




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  1.    Evaluate each subrecipient's risk of noncompliance with Federal statutes, regulations, and the
        terms and conditions of the subaward for purposes of determining the appropriate subrecipient
        monitoring.

  2.    Monitor the performance and fiscal activities of the subrecipient to ensure that the subaward is
        used for authorized purposes, in compliance with Federal statutes, regulations, and the terms
        and conditions of the subaward; and that subaward performance goals are achieved.

A small number of Department grant programs have program-specific cash management and payment
requirements based on the authorizing legislation or program regulations. These program-specific
requirements may supplement or override general cash management or payment requirements. If you
have any questions about your specific grant, please contact the Education Program Contact listed in
Block 3 of your Grant Award Notification.




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                                                                                   GAN ATTACHMENT 5
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    RECIPIENTS OF DEPARTMENT OF EDUCATION GRANTS AND COOPERATIVE AGREEMENTS
                  FREQUENTLY ASKED QUESTIONS ON CASH MANAGEMENT


Q     What are the Federal Laws and Regulations Regarding Payments to the States?
A     The Cash Management Improvement Act of 1990 (CMIA) establishes interest liabilities for the
      Federal and State governments when the Federal Government makes payments to the States.
      See 31 U.S.C. 3335 and 6503. The implementing regulations are in Title 31 of the Code of
      Federal Regulations (CFR), Part 205, https://www.ecfr.gov/cgi-bin/text-
      idx?tpl=/ecfrbrowse/Title31/31cfr205_main_02.tpl. Non-Federal entities other than States
      follow the rules on Federal payments set out in 2 CFR 200.305.

Q     What is a Treasury-State Agreement (TSA)?
A     A TSA documents the accepted funding techniques and methods for calculating interest agreed
      upon by the U.S. Department of the Treasury (Treasury) and a State. It identifies the Federal
      assistance programs that are subject to interest liabilities under the CMIA. The CMIA regulations
      specify a number of different funding techniques that may be used by a State but a State can
      negotiate with the Treasury Department to establish a different funding technique for a
      particular program. A TSA is effective until terminated and, if a state does not have a TSA,
      payments to the State are subject to the default techniques in the regulations that Treasury
      determines are appropriate.

Q     What are the CMIA requirements for a program subject to a Treasury-State Agreement?
A     Payments to a State under a program of the Department are subject to the interest liability
      requirements of the CMIA if the program is included in the State’s Treasury-State Agreement
      (TSA) with the Department of Treasury. If the Federal government is late in making a payment to
      a State, it owes interest to the State from the time the State spent its funds to pay for
      expenditure until the time the Federal government deposits funds to the State’s account to pay
      for the expenditure. Conversely, if a State is late in making a payment under a program of the
      Department, the State owes interest to the Federal government from the time the Federal
      government deposited the funds to the State’s account until the State uses those funds to make
      a payment. For more information, GAN Enclosure 4.


Q     What are the CMIA requirements for a program that is not subject to a Treasury-State
      Agreement?
A     If a program is not included in the State’s TSA, neither the State nor the Federal government are
      liable for interest for making late payments. However, both the Federal government and the
      State must minimize the time elapsing between the date the State requests funds and the date
      that the funds are deposited to the State’s accounts. The State is also required to minimize the
      time elapsed between the date it receives funds from the Federal government and the date it
      makes a payment under the program, Also, the Department must minimize the amount of funds
      transferred to a State to only that needed to meet the immediate cash needs of the State. The
      timing and amount of funds transferred must be as close as is administratively feasible to a
      State's actual cash outlay for direct program costs and the proportionate share of any allowable
      indirect costs.
Q     What if there is no TSA?


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A   When a State does not have a TSA in effect, default procedures in 31 CFR, part 205 that the
    Treasury Department determines appropriate apply. The default procedures will prescribe
    efficient funds transfer procedures consistent with State and Federal law and identify the
    covered Federal assistance programs and designated funding techniques.


Q   Who is responsible for Cash Management?
A   Grantees and subgrantees that receive grant funds under programs of the Department are
    responsible for maintaining internal controls regarding the management of Federal program
    funds under the Uniform Guidance in 2 CFR 200.302 and 200.303. In addition, grantees are
    responsible for ensuring that subgrantees are aware of the cash management and requirements
    in 2 CFR part 200, subpart D.

Q   Who is responsible for monitoring cash drawdowns to ensure compliance with cash
    management policies?
A   Recipients must monitor their own cash drawdowns and those of their subrecipients to assure
    substantial compliance to the standards of timing and amount of advances.

Q   How soon may I draw down funds from the G5 grants management system?
A   Grantees are required to minimize the amount of time between the drawdown and the
    expenditure of funds from their bank accounts. (See 2 CFR 200.305(b).) Funds must be drawn
    only to meet a grantee’s immediate cash needs for each individual grant. The G5 screen displays
    the following message:

    By submitting this payment request, I certify to the best of my knowledge and belief that the
    request is based on true, complete, and accurate information. I further certify that the
    expenditures and disbursements made with these funds are for the purposes and objectives
    set forth in the applicable Federal award or program participation agreement, and that the
    organization on behalf of which this submission is being made is and will remain in compliance
    with the terms and conditions of that award or program participation agreement. I am aware
    that the provision of any false, fictitious, or fraudulent information, or the omission of any
    material fact, may subject me, and the organization on behalf of which this submission is being
    made, to criminal, civil, or administrative penalties for fraud, false statements, false claims, or
    other violations. (U.S. Code Title 18, Section 1001; Title 20, Section 1097; and Title 31, Sections
    3729-3730 and 3801-3812)

Q   How may I use Federal funds?
A   Federal funds must be used as specified in the Grant Award Notification (GAN) and the approved
    application or State plan for allowable direct costs of the grant and an allocable portion of
    indirect costs, if authorized.

Q   What are the consequences to recipients/subrecipients for not complying with terms of the
    grant award?
A   If a recipient or subrecipient materially fails to comply with any term of an award, whether
    stated in a Federal statute or regulation, including those in 2 CFR part 200, an assurance, the
    GAN, or elsewhere, the awarding agency may in accordance with 2 CFR 200.339 take one or
    more of the following actions:



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            1.   Temporarily withhold cash payments pending correction of the deficiency by the
                 non-Federal entity or more severe enforcement action by the Federal awarding
                 agency or pass-through entity.
            2.   Disallow (that is, deny both use of funds and any applicable matching credit for) all
                 or part of the cost of the activity not in compliance.
            3.   Wholly or partly suspend or terminate the Federal award.
            4.   Initiate suspension or debarment proceedings as authorized under 2 CFR part 180
                 and Federal award agency regulations (or in the case of a pass-through be initiated
                 by a Federal awarding agency).
            5.   Withhold further Federal awards for the project or program.
            6.   Take other remedies that may be legally available.




Q   Who is responsible for determining the amount of interest owed to the Federal government?
A   As set forth in 31 CFR 205.9, the method used to calculate and document interest liabilities is
    included in the State’s TSA. A non-State entity must maintain advances of Federal funds in
    interest-bearing accounts unless certain limited circumstance apply and remit interest earned on
    those funds to the Department of Health and Human Services, Payment Management System
    annually. See 2 CFR 200.305.
Q   What information should accompany my interest payment?
A   In accordance with 2 CFR 200.305(b)(9), interest in access of $500.00 earned on Federal advance
    payments deposited in interest-bearing accounts must be remitted annually to the Department
    of Health and Human Services Payment Management System (PMS) through an electronic
    medium using either Automated Clearing House (ACH) network or a Fedwire Funds Service
    payment.

    For returning interest on Federal awards paid through PMS, the refund should:
    (a) Provide an explanation stating that the refund is for interest;
    (b) List the PMS Payee Account Number(s) (PANs);
    (c) List the Federal award number(s) for which the interest was earned; and
    (d) Make returns payable to: Department of Health and Human Services.

    For returning interest on Federal awards not paid through PMS, the refund should:
    (a) Provide an explanation stating that the refund is for interest;
    (b) Include the name of the awarding agency;
    (c) List the Federal award number(s) for which the interest was earned; and
    (d) Make returns payable to: Department of Health and Human Services.

    For additional information about returning interest see GAN ATTACHMENT 4.

Q   Are grant recipients/subrecipients automatically permitted to draw funds in advance of the
    time they need to disburse funds in order to liquidate obligations?
A    The payment requirements in 2 CFR 200.305(b) authorize a grantee or subgrantee to request
    funds in advance of expenditures if certain conditions are met. However, if those conditions are
    not met, the Department and a pass-through agency may place a payee on reimbursement.



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Q   For formula grant programs such as ESEA Title I, for which States distribute funds to LEAs, may
    States choose to pay LEAs on a reimbursement basis?
A    A subgrantee must be paid in advance if it meets the standards for advance payments in 2 CFR
    200.305(b)(1) but if the subgrantee cannot meet those standards, the State may put the
    subgrantee on reimbursement payment. See 2 CFR 200.305(b).

Q   Will the Department issue special procedures in advance if G5 plans to shut down for 3 days or
    more?
A   Yes, before any shutdown of G5 lasting three days or more, the Department issues special
    guidance for drawing down funds during the shut down. The guidance will include cash
    management improvement act procedures for States and certain State institutions of higher
    education and procedures for grants (including Pell grants) that are not subject to CMIA.




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                 EXHIBIT B
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           S336S230018 - 24
           Beverley J Bell
           University of Massachusetts Amherst
           Coll: Education
           Furcolo, College of Ed, Rm S103
           Amherst, MA 01003
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       Alene Denson
       University of Massachusetts Amherst
       Coll: Education
       Office of Research and Engagement
       Venture Way Center, 100 Venture Way, Suite 201
       Hadley, MA 01035
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                                             Washington, D.C. 20202

                                    GRANT AWARD NOTIFICATION

1 RECIPIENT NAME                                               2 AWARD INFORMATION
     University of Massachusetts Amherst                                  PR/AWARD NUMBER                S336S230018 - 24
     Coll: Education                                                        ACTION NUMBER                4
     Office of Research and Engagement                                         ACTION TYPE               Continuation
     Venture Way Center, 100 Venture Way, Suite 201                            AWARD TYPE                Discretionary
     Hadley, MA 01035

3   PROJECT STAFF
                                                               4 PROJECT TITLE
     RECIPIENT PROJECT DIRECTOR                                         84.336S
        Beverley J Bell             (413) 695-2169                      Para-to-Teacher Program for Early Childhood Education
        bjbell@umass.edu                                                (ECE) Licensure in Massachusetts (Pre K-2)
     EDUCATION PROGRAM CONTACT
        Diana Schneider             (202) 401-1456
        diana.schneider@ed.gov
     EDUCATION PAYMENT HOTLINE
        G5 PAYEE HELPDESK           888-336-8930
        obssed@servicenowservices.com

5   KEY PERSONNEL

     NAME                           TITLE                                         LEVEL OF EFFORT
     Beverley J Bell                Project Director                                           9%

6 AWARD PERIODS
                  BUDGET PERIOD               10/01/2024 - 09/30/2025
             PERFORMANCE PERIOD               10/01/2023 - 09/30/2028

    FUTURE BUDGET PERIODS

         BUDGET PERIOD                            DATE                                      AMOUNT
                  3                       10/01/2025 - 09/30/2026                          $574,375.00
                  4                       10/01/2026 - 09/30/2027                          $680,079.00
                  5                       10/01/2027 - 09/30/2028                          $542,524.00


7 AUTHORIZED FUNDING
                               THIS ACTION                     $234,827.00
                             BUDGET PERIOD                     $234,827.00
                        PERFORMANCE PERIOD                     $497,760.00


8 ADMINISTRATIVE INFORMATION
                   UEI          VGJHK59NMPK9
           REGULATIONS          EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
          ATTACHMENTS           2 , 3 , 6 , 8 , 9 , 11 , 12 , 13 , 14 , GE1 , GE2 , GE3 , GE4 , GE5


9   LEGISLATIVE AND FISCAL DATA

      AUTHORITY:                           PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
      PROGRAM TITLE:                       TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                           PARTNERSHIPS
      CFDA/SUBPROGRAM NO:                  84.336S
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                                          GRANT AWARD NOTIFICATION
     FUND         FUNDING    AWARD ORG. CODE CATEGORY                LIMITATION       ACTIVITY     CFDA       OBJECT          AMOUNT
     CODE          YEAR       YEAR                                                                            CLASS
     0201A         2024        2024     ES000000          B              JDK              000        336       4101C            $234,827.00

10    PR/AWARD NUMBER:                              S336S230018 - 24
      RECIPIENT NAME:                               University of Massachusetts Amherst
                                                    Coll: Education
      GRANTEE NAME:                                 UNIVERSITY OF MASSACHUSETTS
                                                    101 COMMONWEALTH AVE,
                                                    AMHERST, MA 01003 - 9252
      PROGRAM INDIRECT COST TYPE:                   Restricted
      PROJECT INDIRECT COST RATE:                   8%

      TERMS AND CONDITIONS

            (1)    The Office of Management and Budget requires all Federal agencies to assign a Federal Award Identifying Number
                   (FAIN) to each of their financial assistance awards. The PR/AWARD NUMBER identified in Block 2 is your FAIN.
                   If subawards are permitted under this grant, and you choose to make subawards, you must document the assigned PR/
                   AWARD NUMBER (FAIN) identified in Block 2 of this Grant Award Notification on each subaward made under this
                   grant. The term subaward means:
                   1. A legal instrument to provide support for the performance of any portion of the substantive project or program for
                   which you received this award and that you as the recipient award to an eligible subrecipient. (See 2 CFR 200.331(a))
                   2. The term does not include your procurement of property and services needed to carry out the project or program
                   (The payments received for goods or services provided as a contractor are not Federal awards, see 2 CFR 200.501(f)
                   of the OMB Uniform Guidance: "Uniform Administrative Requirements, Cost Principles, and Audit Requirements for
                   Federal Awards").
                   3. A subaward may be provided through any legal agreement, including an agreement that you or a subrecipient
                   considers a contract. (See 2 CFR 200.1)

            (2)    THE FOLLOWING ITEMS ARE INCORPORATED IN THE GRANT AGREEMENT:

                   1) THE RECIPIENT'S APPLICATION (BLOCK 2);
                   2) THE APPLICABLE EDUCATION DEPARTMENT REGULATIONS: 2 CFR PART 180, NONPROCUREMENT
                   DEBARMENT AND SUSPENSION AS ADOPTED AT 2 CFR PART 3485; 2 CFR PART 200 AS ADOPTED
                   AT 2 CFR 3474 (BLOCK 8), AND 34 CFR PARTS 75, 77, 79, 81, 82, 84, 86, 97, 98, 99; AND THE PROGRAM
                   REGULATIONS SPECIFIED IN BLOCK 8; AND
                   3) THE SPECIAL TERMS AND CONDITIONS SHOWN AS ATTACHMENTS IN BLOCK 8 ON THE INITIAL
                   AWARD APPLY UNTIL CHANGED.

                   THIS AWARD SUPPORTS ONLY THE BUDGET PERIOD SHOWN IN BLOCK 6. IN ACCORDANCE WITH 34
                   CFR 75.253, THE SECRETARY CONSIDERS, AMONG OTHER THINGS, CONTINUED FUNDING IF:

                   1) CONGRESS HAS APPROPRIATED SUFFICIENT FUNDS UNDER THE PROGRAM;
                   2) THE DEPARTMENT DETERMINES THAT CONTINUING THE PROJECT WOULD BE IN THE BEST
                   INTEREST OF THE GOVERNMENT;
                   3) THE GRANTEE HAS MADE SUBSTANTIAL PROGRESS TOWARD MEETING THE GOALS AND
                   OBJECTIVES OF THE PROJECT;
                   4) THE SECRETARY ESTABLISHED PERFORMANCE MEASUREMENT REQUIREMENTS FOR THE
                   GRANT IN THE APPLICATION NOTICE, THE PERFORMANCE TARGETS IN THE GRANTEE'S APPROVED
                   APPLICATION;
                   5) THE RECIPIENT HAS SUBMITTED REPORTS OF PROJECT PERFORMANCE AND BUDGET
                   EXPENDITURES THAT MEET THE REPORTING REQUIREMENTS FOUND AT 34 CFR 75.118, 2 CFR 200.328
                   AND 200.329, AND ANY OTHER REPORTING REQUIREMENTS ESTABLISHED BY THE SECRETARY;
                   AND
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                               GRANT AWARD NOTIFICATION
      6) THE GRANTEE HAS MAINTAINED FINANCIAL AND ADMINISTRATIVE MANAGEMENT SYSTEMS
      THAT MEET THE REQUIREMENTS IN 2 CFR 200.302, FINANCIAL MANAGEMENT, AND 2 CFR 200.303,
      INTERNAL CONTROLS.

      IN ACCORDANCE WITH 2 CFR 200.308(c)(2) CHANGES TO KEY PERSONNEL IDENTIFIED IN BLOCK 5
      MUST RECEIVE PRIOR APPROVAL FROM THE DEPARTMENT.

      THE SECRETARY ANTICIPATES FUTURE FUNDING FOR THIS AWARD ACCORDING TO THE SCHEDULE
      IDENTIFIED IN BLOCK 6. THESE FIGURES ARE ESTIMATES ONLY AND DO NOT BIND THE SECRETARY
      TO FUNDING THE AWARD FOR THESE PERIODS OR FOR THE SPECIFIC AMOUNTS SHOWN. THE
      RECIPIENT WILL BE NOTIFIED OF SPECIFIC FUTURE FUNDING ACTIONS THAT THE SECRETARY
      TAKES FOR THIS AWARD.

(3)   Unless this grant solely funds research, you must comply with new regulations regarding awards to faith-based
      organizations (FBOs) that provide beneficiary services under this grant or under a contract you award to provide
      beneficiary services under this grant. These new regulations clarify the rights of FBOs and impose certain duties on
      FBOs regarding the referral of beneficiaries they serve. See 34 CFR 75.52, 75.712-75.714, appendix A to part 75, and
      2 CFR 3474.15. The Department has established a web page that provides guidance on the new regulations, including
      FAQs and other implementation tools, which is available at http://www2.ed.gov/policy/fund/reg/fbci-reg.html. If you
      have any questions about these regulations, please contact the Education Program Contact identified in Block 3 of this
      GAN.

(4)   Reimbursement of indirect costs is subject to the availability of funds and statutory and regulatory restrictions. The
      negotiated indirect cost rate agreement authorizes a non-Federal entity to draw down indirect costs from the grant
      awards. The following conditions apply to the below entities.

      A. All entities (other than institutions of higher education (IHE))

      The GAN for this grant award shows the indirect cost rate that applies on the date of the initial grant for this project.
      However, after the initial grant date, when a new indirect cost rate agreement is negotiated, the newly approved
      indirect cost rate supersedes the indirect cost rate shown on the GAN for the initial grant. This new indirect cost rate
      should be applied according to the period specified in the indirect cost rate agreement, unless expressly limited under
      EDGAR or program regulations. Any grant award with an approved budget can amend the budget to account for a
      change in the indirect cost rate. However, for a discretionary grant award any material changes to the budget which
      may impact the scope or objectives of the grant must be discussed with the program officer at the Department. See 34
      CFR 75.560 (d)(3) (ii) (part 75 of EDGAR).

      B. Institutions of higher education (IHE)

      Under 2 CFR part 200, Appendix III, Indirect (F&A) Costs Identification and Assignment, and Rate Determination
      for Institutions of Higher Education (IHEs), the Department must apply the negotiated indirect cost rate in effect on
      the date of the initial grant award to every budget period of the project, including all continuation grants made for this
      project. See 2 CFR Part 200, Appendix III, paragraph C.7. Therefore, the GAN for each continuation grant will show
      the original indirect cost rate and it applies to the entire period of performance of this project. If the indirect cost rate
      agreement that is applicable to this grant does not extend to the end of the grant s project period, the indirect cost rate
      set at the start of the project period must still be applied to the end of project period regardless of the fact that the rate
      has otherwise expired.
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                            US Department of Education                             S336S230018 - 24

                              Washington, D.C. 20202

                       GRANT AWARD NOTIFICATION




                                    Digitally signed by TINA WOOD
                TINA WOOD
                {{digsig1_es_:signer1:digitalsignature}}
                                    Date: 2024.08.21 14:18:56 -04'00'


                                  AUTHORIZING OFFICIAL                             DATE


Ver. 1
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                    EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
       PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
       ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
       ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
       AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
       *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
       EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
       EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5. * KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                         approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                  performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                       proposes it will award the recipient provided substantial progress is made by the recipient in
                                       completing approved activities, the Department determines that continuing the project would be in the
                                       best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                       recipient has submitted a performance report that provides the most current performance information
                                       and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
       *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
       *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
       RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                              by the program legislation or regulations and/or terms and conditions of the award.
       RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                            the recipient's application. When non-federal funds are identified by the recipient where a
                                            cost share is not a legislation requirement, the recipient will be required to provide the non-
                                            federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
        *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                        tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                        associated UEI is what is displayed in the SAM Public Search.
        *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                Training).
        *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
        *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
        PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
      CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.
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                 UNITED STATES DEPARTMENT OF EDUCATION
                       OFFICE OF THE CHIEF FINANCIAL OFFICER
                           & CHIEF INFORMATION OFFICER




Beverley J Bell
University of Massachusetts Amherst
Coll: Education
Office of Research and Engagement
Venture Way Center, 100 Venture Way, Suite 201

Hadley, MA 01035



SUBJECT: Payee Verification for Grant Award S336S230018 - 24

This is to inform you of the payee for the above listed grant award issued by the United States
Department of Education

Grantee UEI: VGJHK59NMPK9
Grantee Name: UNIVERSITY OF MASSACHUSETTS

Payee UEI: VGJHK59NMPK9
Payee Name: UNIVERSITY OF MASSACHUSETTS

If any of the above information is not correct, please contact a Payee Customer Support
Representative at 1-888-336-8930. Please send all the correspondence relating to the payee or
bank information changes to the following address:


                              U.S. Department of Education
                              550 12th Street, SW
                              Room 6087
                              Washington, DC 20202

                              Attn: Stephanie Barnes
                              Phone: 202-245-8006
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                           SPECIFIC GRANT TERMS AND CONDITIONS FOR
                             FINANCIAL AND PERFORMANCE REPORTS


PERFORMANCE REPORTS:

(1) FINAL REPORTS - ALL RECIPIENTS are required to submit a final performance report within 120 days
after the expiration or termination of grant support in accordance with submission instructions provided
in box 10 of the Grant Award Notification (GAN), or through another notification provided by the
Department of Education (Department) (2 CFR § 200.329(c)).

(2) ANNUAL, QUARTERLY, or SEMIANNUAL REPORTS - ALL RECIPIENTS of a multi-year discretionary
award must submit an annual Grant Performance Report (34 CFR § 75.118). The annual performance
report shall provide the most current performance and financial expenditure information that is
sufficient to meet the reporting requirements of 2 CFR §§ 200.328, 200.329, and 34 CFR § 75.720.

Your education program contact will provide you with information about your performance report
submissions, including the due date, as a grant term or condition in box 10 on the GAN, or through
another notification provided by the Department. The grant term or condition in box 10 on the GAN or
another notification may reflect any of the following:

    1. That a performance report is due before the next budget period begins. The report should
       contain current performance and financial expenditure information for this grant. It will either
       identify the date the performance report is due or state that the Department will provide
       additional information about this report, including due date, at a later time.

    2. That an interim performance report is required because of the nature of the award or because
       of statutory or regulatory provisions governing the program under which this award is made,
       and that the report is due more frequently than annually as indicated, e.g., due quarterly and
       submitted within 30 days after the end of each quarter, or due semiannually and submitted
       within 30 days after the end of each 6-month period (2 CFR § 200.329(c)(1)).

    3. That other reports are required, e.g., program specific reports required in a program’s statute or
       regulation.

(3) FINANCIAL REPORTS – SOME RECIPIENTS:

If a financial report is required, your education program contact will provide you with information about
your financial report submission, including the due date, as a grant term or condition in box 10 on the
GAN, or through another notification.

A Standard Form (SF) 425 Federal Financial Report (FFR) is required if:

    1. A grant involves cost sharing, and the ED 524B, which collects cost sharing information, is not
       submitted or a program-specific report approved by U.S. Office of Management and Budget
       (OMB) does not collect cost sharing information;
    2. Program income was earned;


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    3. Indirect cost information is to be reported and the ED 524B was not used or a program-specific
       report approved by OMB does not collect indirect cost information;
    4. Program regulations or statute require the submission of the FFR; or
    5. Specific Award Conditions, or specific grant or subgrant conditions for designation of “high risk,”
       were imposed in accordance with 2 C.F.R. part 200.208 and part 3474.10 and required the
       submission of the FFR.

If the FFR is required, the notification may indicate one of the following (see the form and its
instructions at Standard Form (SF) 425 Federal Financial Report (FFR)):

    1. Quarterly - FFRs are required for reporting periods ending on 12/31, 03/31, 06/30, 09/30, and
       are due within 30 days after each reporting period.

    2. Semi-annual - FFRs are required for reporting periods ending on 03/31 and 09/30, and are due
       within 30 days after each reporting period.

    3. Annual - FFRs are required for reporting period ending 09/30, and is due within 30 days after the
       reporting period.

    4. Final - In coordination with the submission of final performance reports, FFRs are due within 120
       days after the project or grant period end date (2 CFR 200.328).

When completing an FFR for submission, the following must be noted:

    1. Multiple Grant Reporting Using SF 425A Prohibited: While the FFR is a governmentwide form
       that is designed for single grant and multiple grant award reporting, the Department’s policy is
       that multiple grant award reporting is not permitted for Department grants. Thus, a Department
       grantee that is required to submit an FFR in accordance with any of the above referenced
       selections must complete and submit one FFR for each of its grants. Do not use the FFR
       attachment (Standard Form 425A), which is available for reporting multiple grants, for reporting
       on Department grants. As such, references to multiple grant reporting and to the FFR
       attachment in items 2, 5 and 10 of the FFR are not applicable to Department grantees. With
       regards to item 1 of the note found in the FFR Instructions, a grantee must complete items 10(a)
       through 10(o) for each of its grants. The multiple award, multiple grant, and FFR attachment
       references found in items 2, 5, 6, before 10(a), in item 10(b), before 10(d), before 10(i) and
       before 10(l) of the Line Item Instructions for the FFR are not applicable to Department grants.

    2. Program Income: Unless disallowed by statute or regulation, a grantee will complete item 10(m)
       or 10(n) in accordance with the options or combination of options as provided in 2 CFR Part
       200.307. A grantee is permitted, in accordance with 2 CFR Part 200.307, to add program income
       to its Federal share to further eligible project or program objectives, use program income to
       finance the non-Federal share of the project or program; and deduct program income from the
       Federal share of the total project costs.

    3. Indirect Costs: A grantee will complete item 11(a) by listing the indirect cost rate type identified
       on its indirect cost rate agreement, as approved by its cognizant agency for indirect costs.


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         A Department grantee that does not have an indirect cost rate agreement approved by its
         cognizant agency for indirect costs, and that is using the Department approved (beyond the 90-
         day temporary period) temporary indirect cost rate of 10% of budgeted direct salaries and
         wages, or the de minimis rate of 10% of modified total direct cost (MTDC) must list its indirect
         cost rate in 11(a) as a Department Temporary Rate or De Minimis Rate. The de minimis rate of
         10% of MTDC consists of:

                  All direct salaries and wages, applicable fringe benefits, materials and supplies, services,
                  travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
                  subgrant). MTDC excludes equipment, capital expenditures, charges for patient care,
                  rental costs, tuition remission, scholarships and fellowships, participant support costs
                  and the portion of each subaward in excess of $25,000. Other items, including contract
                  costs in excess of $25,000, may be excluded when necessary to avoid a serious inequity
                  in the distribution of indirect costs (see definition of MTDC at 2 CFR § 200.1).

         A training program grantee whose recovery of indirect cost limits indirect cost recovery to 8% of
         MTDC or the grantees negotiated indirect cost rate, whichever is less in accordance with EDGAR
         § 75.562 (c), must list its rate in 11(a) as a Department Training Grant Rate. The 8% limit does
         not apply to agencies of Indian tribal governments, local governments, and States1 as defined in
         2 CFR § 200.1

         A restricted program grantee must list its rate as a Restricted Indirect Cost Rate in 11(a). A
         restricted program (i.e., programs with statutory supplement-not-supplant requirements)
         grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
         indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
         negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
         not less than 8% MTDC. A State or local government2 that is a restricted program grantee may
         not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
         the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
         negotiated. If a restricted program grantee elects to utilize the temporary rate, it must list its
         rate as a Department Temporary Rate in 11(a).

         Grantees with indirect cost rates prescribed in program statute or regulation must list their rate
         as a Rate Required in Program Statute or Regulation in 11(a). Grantees are required to follow
         program-specific statutory or regulatory requirements that mandate either indirect cost rate
         type or maximum administrative costs recovery.

         For detailed information including restrictions related to temporary, de minimis, training,
         restricted, and program prescribed indirect cost rates see GAN ATTACHMENT 4.

    4. Supplemental Pages: If grantees need additional space to report financial information, beyond
       what is available within the FFR, they should provide supplemental pages. These additional
       pages must indicate the following information at the top of each page: the PR/Award Number

1
  Note that a State-funded institution of higher education is not considered a “State government” for these purposes;
and a Tribal college or university funded by a federally-recognized Tribe is not considered a Tribe for these
purposes.
2
  Note that a State-funded institution of higher education is not considered a “State government” for these purposes.

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 also known as the Federal Identifying Number or FAIN, recipient organization, Unique Entity
 Identifier, Employer Identification Number (EIN), and period covered by the report.




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                      AN OVERVIEW OF SINGLE AUDIT REQUIREMENTS OF STATES,
                      LOCAL GOVERNMENTS, AND NONPROFIT ORGANIZATIONS

This GAN ATTACHMENT is not applicable to for-profit organizations. For-profit organizations
comply with audit requirements specified in block 10 of their Grant Award Notification
(GAN).

Summary of Single Audit Requirements for States, Local Governments and Nonprofit
Organizations:

       1. Single Audit. A non-Federal entity (a State, local government, Indian tribe,
          Institution of Higher Education (IHE)1, or nonprofit organization) that expends
          $750,000 or more during the non-Federal entity’s fiscal year in Federal awards must
          have a single audit conducted in accordance with 2 CFR 200.501, “Audit
          Requirements,” except when it elects to have a program specific audit conducted.

       2. Program-specific audit election. When an auditee expends Federal awards under
          only one Federal program (excluding research and development (R&D)), and the
          Federal program’s statutes, regulations, or the terms and conditions of the Federal
          award do not require a financial statement audit of the auditee, the auditee may
          elect to have a program–specific audit conducted. A program–specific audit may
          not be elected for R&D unless all of the Federal awards expended were received
          from the same Federal agency, or the same Federal agency and the same pass-
          through entity, and that Federal agency, or pass-through entity in the case of a
          subrecipient, approves in advance a program-specific audit.

      3. Exemption when Federal awards expended are less than $750,000. A non-Federal
         entity that expends less than $750,000 during the non-Federal entity’s fiscal year in
         Federal awards is exempt from Federal audit requirements for that year, except as
         noted in 2 CFR 200.503, but records must be available for review or audit by
         appropriate officials of the Federal agency, pass-through entity, and Government
         Accountability Office (GAO). Generally, grant records must be maintained for a
         period of three years after the date of the final expenditure report (2 CFR § 200.334)

       4. Federally Funded Research and Development Centers (FFRDC). Management of an
          auditee that owns or operates a FFRDC may elect to treat the FFRDC as a separate
          entity.

       5. Report Submission. To meet audit requirements of U.S. Office of Management and
          Budget (OMB) Uniform Guidance: Cost Principles, Audit, and Administrative
          Requirements for Federal Awards (Uniform Guidance), grantees must submit all
          audit documents required by Uniform Guidance 2 CFR 200.512, including Form SF-
          SAC: Data Collection Form electronically to the Federal Audit Clearinghouse at:


1
    As defined under the Higher Education Act of 1965, as amended (HEA) section 101.
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        https://facides.census.gov/Account/Login.aspx.

        The audit must be completed, and the data collection form and reporting package
        must be submitted within the earlier of 30 calendar days after receipt of the
        auditor’s report(s), or nine months after the end of the audit period. If the due date
        falls on a Saturday, Sunday, or Federal holiday, the reporting package is due the next
        business day. Unless restricted by Federal statutes or regulations, the auditee must
        make copies available for public inspection. Auditees and auditors must ensure that
        their respective parts of the reporting package do not include protected personally
        identifiable information. (2 CFR 200.512)

Grantees are strongly urged to obtain the “OMB Compliance Supplement” and to contact their
cognizant agency for single audit technical assistance.

The designated cognizant agency for single audit purposes is “the Federal awarding agency that provides
the predominant amount of direct funding to the recipient.” Grantees should obtain a copy of the OMB
Compliance supplement. This supplement will be instructive to both grantees and their auditors.
Appendix III of the supplement provides a list of Federal Agency Contacts for Single Audits, including
addresses, phone numbers, fax numbers, and e-mail addresses for technical assistance.

For single audit-related questions, if the U.S. Department of Education is the cognizant agency, grantees
should contact the Non-Federal Audit Team in the Department’s Office of Inspector General, at oignon-
federalaudit@ed.gov. Additional resources for single audits are also available on the Non-Federal Audit
Team’s website at https://www2.ed.gov/about/offices/list/oig/nonfed/index.html. For programmatic
questions, grantees should contact the education program contact shown on the Department’s GAN.

Grantees can obtain information on single audits from:

The OMB website at www.omb.gov. Look under Office of Management and Budget (in right column)
then click Office of Federal Financial Management (to obtain OMB Compliance Supplement). The SF-
SAC: Data Collection Form can be found at the Federal Audit Clearinghouse at:
https://facides.census.gov/Files/2019-2021%20Checklist%20Instructions%20and%20Form.pdf.

The American Institute of Certified Public Accountants (AICPA) has illustrative OMB Single Audit
report examples that might be of interest to accountants, auditors, or financial staff at
www.aicpa.org.




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                                                                                  GAN ATTACHMENT 6
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                         REQUEST FOR APPROVAL OF PROGRAM INCOME

In projects that generate program income, the recipient calculates the amount of program income
according to the guidance given in 2 CFR Part 200.307.


*** IF YOU RECEIVED YOUR GRANT AWARD NOTIFICATION ELECTRONICALLY AND YOU ARE SUBJECT
TO ANY OF THE RESTRICTIONS IDENTIFIED BELOW, THE RESTRICTION(S) WILL APPEAR IN BOX 10 ON
YOUR GRANT AWARD NOTIFICATION AS A GRANT TERM OR CONDITION OF THE AWARD. ***


Unless checked below as NOT ALLOWED, the recipient may exercise any of the options or combination
of options, as provided in 2 CFR Part 200.307, for using program income generated in the course of the
recipient's authorized project activities:

      Not Allowed Adding program income to funds committed to the project by the Secretary and
     recipient and using it to further eligible project or program objectives;

      Not Allowed Using program income to finance the non-Federal share of the project or program;
      and

     Not Allowed Deducting program income from the total allowable cost to determine the net
     allowable costs.




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                                                                                     GAN ATTACHMENT 8
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                                   TRAFFICKING IN PERSONS

The Department of Education adopts the requirements in the Code of Federal Regulations at 2
CFR 175 and incorporates those requirements into this grant through this condition. The grant
condition specified in 2 CFR 175.15(b) is incorporated into this grant with the following changes.
Paragraphs a.2.ii.B and b.2. ii. are revised to read as follows:

        “a.2.ii.B. Imputed to you or the subrecipient using the standards and due
        process for imputing the conduct of an individual to an organization that are
        provided in 34 CFR part 85.”

        “b.2. ii. Imputed to the subrecipient using the standards and due process for
        imputing the conduct of an individual to an organization that are provided in
        34 CFR part 85.”

Under this condition, the Secretary may terminate this grant without penalty for any violation of
these provisions by the grantee, its employees, or its subrecipients.




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                          FEDERAL FUNDING ACCOUNTABILITY TRANSPARENCY ACT
                          REPORTING SUBAWARDS AND EXECUTIVE COMPENSATION

The Federal Funding Accountability and Transparency Act (FFATA) is designed to increase transparency
and improve the public’s access to Federal government information. To this end, FFATA requires that
Department of Education (Department) grant recipients:

    1. Report first-tier subawards made under Federal grants that are funded at $30,000 or more that
       meet the reporting conditions as set forth in this grant award term;
    2. Report their executives’ compensation for all new Federal grants that are funded at $30,000 and
       that meet the reporting conditions as set forth in this grant award term; and
    3. Report executive compensation data for their first-tier subrecipients that meet the reporting
       conditions as set forth in this grant award term.

For FFATA reporting purposes, the Department grant recipient is the entity listed in box 1 of the Grant
Award Notification.

Only first-tier subawards made by the Department grant recipient to its first-tier subrecipients and the
first-tier subrecipients’ executive compensation are required to be reported in accordance with FFATA.

Subaward, Subrecipient, Recipient, Total Compensation, Executives, and other key terms, are defined
within item 5, Definitions, of this grant award term.

This grant award term is issued in accordance with 2 CFR Part 170—Reporting Subaward And Executive
Compensation Information.

    1. Reporting of First-tier Subawards -

    a. Applicability and what to report.

        Unless you are exempt as provided item 4, Exemptions, of this grant award term, you must
        report each obligation that equals or exceeds $30,000 in Federal funds for a first-tier subaward
        to a non-Federal entity or Federal agency.

        You must report the information about each obligating action that are specified in the
        submission instructions posted at FSRS.

    b. Where and when to report.

        The Department grant recipient must report each obligating action described in paragraph 1.a.
        of this award term to FSRS.

        Report subaward information no later than the end of the month following the month in which
        the subaward obligation was made. For example, if the obligation was made on November 7,
        2020, the obligation must be reported by no later than December 31, 2020.

    2. Reporting Total Compensation of the Department’s Grant Recipients’ Executives -


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a. Applicability and what to report.

        You must report total compensation for each of your five most highly compensated executives
        for the preceding completed fiscal year, if—

        i    The total Federal funding authorized to date under this Federal award equals or exceeds
             $30,000;

        ii   In the preceding fiscal year, you received—

             A. 80 percent or more of your annual gross revenues from Federal procurement contracts
                (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                defined at 2 CFR 170.320 (and subawards), and
             B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                subcontracts) and Federal financial assistance subject to the Transparency Act, as
                defined at 2 CFR 170.320 (and subawards); and,
             C. The public does not have access to information about the compensation of the
                executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                Code of 1986. (To determine if the public has access to the compensation information,
                see the U.S. Security and Exchange Commission total compensation filings at SEC
                Investor.gov Executive Compensation.)

b. Where and when to report.

        You must report executive total compensation described in paragraph 2.a. of this grant award
        term:

  i.         As part of your registration profile at SAM.gov.

  ii.        By the end of the month following the month in which this award is made (for example, if
             the obligation was made on November 7, 2020 the executive compensation must be
             reported by no later than December 31, 2020), and annually thereafter.

3. Reporting of Total Compensation of Subrecipient Executives –

a. Applicability and what to report.

        Unless you are exempt as provided in item 4, Exemptions, of this award term, for each first-tier
        non-Federal entity subrecipient under this award, you shall report the names and total
        compensation of each of the subrecipient's five most highly compensated executives for the
        subrecipient's preceding completed fiscal year, if—

  i.         In the subrecipient's preceding fiscal year, the subrecipient received—




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           A. 80 percent or more of its annual gross revenues from Federal procurement contracts
              (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
              defined at 2 CFR 170.320 (and subawards), and
           B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
              subcontracts) and Federal financial assistance subject to the Transparency Act, as
              defined at 2 CFR 170.320 (and subawards); and,
           C. The public does not have access to information about the compensation of the
              executives through periodic reports filed under section 13(a) or 15(d) of the Securities
              Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
              Code of 1986. (To determine if the public has access to the compensation information,
              see the U.S. Security and Exchange Commission total compensation filings at SEC
              Investor.gov Executive Compensation.)

b. Where and when to report.

        You must report subrecipient executive total compensation described in paragraph 3.a. of this
        grant award term:

  i.       In FSRS. You must include a condition on subawards that requires the subrecipients to
           timely report the information required under paragraph 3.a. to you the prime awardee, or
           in the SAM.gov. Subrecipient executive compensation entered in SAM.gov by the
           subrecipient will pre-populate in FSRS, so you do not have to report when subrecipients
           enter this information in SAM.gov. Subrecipient executive compensation not entered in
           SAM.gov by the subrecipient is reported in FSRS by you the Department grant recipient.

  ii.      By the end of the month following the month during which you make the subaward. For
           example, if the subaward obligation was made on November 7, 2020 the subrecipient’s
           executive compensation must be reported by no later than December 31, 2020.

4. Exemptions –

a. If, in the previous tax year, you had gross income, from all sources, under $300,000, you are
   exempt from the requirements to report:

  i.       Subawards, and

  ii.      The total compensation of the five most highly compensated executives of any subrecipient.

5. Definitions -

a. For purposes of this award term:

  i.       Federal Agency means a Federal agency as defined at 5 U.S.C. 551(1) and further clarified by
           5 U.S.C. 552(f).

  ii.      Non-Federal Entity means all of the following, as defined in 2 CFR part 25:

            A Governmental organization, which is a State, local government, or Indian tribe;

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       A foreign public entity;

       A domestic or foreign nonprofit organization; and,

       A domestic or foreign for-profit organization

iii.   Executive means officers, managing partners, or any other employees in management
       positions.

iv.    Obligation, when used in connection with a non-Federal entity's utilization of funds under a
       Federal award, means orders placed for property and services, contracts and subawards
       made, and similar transactions during a given period that require payment by the non-
       Federal entity during the same or a future period.

 v.    Subaward:

       This term means a legal instrument to provide support for the performance of any portion
       of the substantive project or program for which you received this award and that you as the
       recipient award to an eligible subrecipient.

       The term does not include your procurement of property and services (such as payments to
       a contractor, small purchase agreements, vendor agreements, and consultant agreements)
       that are needed for the benefit of the prime awardee to carry out the project or program
       (for further explanation, see 2 CFR 200.331). For example, the following are not considered
       subawards:

           Cleaning Vendors: Vendors that are hired by a grantee to clean its facility.
           Payroll Services Vendors: Vendors that carryout payroll functions for the grantee.
           Information Technology Vendors: Vendors that provide IT support to grant staff.

       Payments to individuals that are beneficiaries of Federal programs are not considered
       subawards.

       A subaward may be provided through any legal agreement, including an agreement that you
       or a subrecipient considers a contract.

 v.    Subrecipient means a non-Federal entity or Federal agency that:

       Receives a subaward from you (the recipient) under this award; and

       Is accountable to you for the use of the Federal funds provided by the subaward.

       In accordance with its subaward, uses the Federal funds to carry out a program for a public
       purpose specified in authorizing statute, as opposed to providing goods or services for the
       benefit of the Department prime awardee.



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vii.    Recipient means a non-Federal entity that receives a Federal award directly from a Federal
        awarding agency to carry out an activity under a Federal program. The term recipient does
        not include subrecipients. See also §200.69 Non-Federal entity.
viii.   Total compensation means the cash and noncash dollar value earned by the executive
        during the recipient's or subrecipient's preceding fiscal year and includes the following (for
        more information see 17 CFR 229.402(c)(2)):

        Salary and bonus.

        Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
        recognized for financial statement reporting purposes with respect to the fiscal year in
        accordance with the Statement of Financial Accounting Standards No. 123 (Revised 2004)
        (FAS 123R), Shared Based Payments.

        Earnings for services under non-equity incentive plans. This does not include group life,
        health, hospitalization, or medical reimbursement plans that do not discriminate in favor of
        executives and are available generally to all salaried employees.

        Change in pension value. This is the change in present value of defined benefit and actuarial
        pension plans.

        Above-market earnings on deferred compensation which is not tax-qualified.

        Other compensation, if the aggregate value of all such other compensation (e.g., severance,
        termination payments, value of life insurance paid on behalf of the employee, perquisites,
        or property) for the executive exceeds $10,000.




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                           SPECIFIC CONDITIONS FOR DISCLOSING
                       FEDERAL FUNDING IN PUBLIC ANNOUNCEMENTS

When issuing statements, press releases, requests for proposals, bid solicitations and other
documents describing projects or programs funded in whole or in part with Federal money, U.S.
Department of Education grantees shall clearly state:

        1) the percentage of the total costs of the program or project which will be financed with
           Federal money;

        2) the dollar amount of Federal funds for the project or program; and

        3) the percentage and dollar amount of the total costs of the project or program that will
           be financed by non-governmental sources.

Recipients must comply with these conditions under Division H, Title V, Section 505 of Public Law 116-
260, Consolidated Appropriations Act, 2021.




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    PROHIBITION OF TEXT MESSAGING AND EMAILING WHILE DRIVING
              DURING OFFICIAL FEDERAL GRANT BUSINESS

 Federal grant recipients, sub recipients and their grant personnel are prohibited from text
 messaging while driving a government owned vehicle, or while driving their own privately-
 owned vehicle during official grant business, or from using government supplied electronic
 equipment to text message or email when driving.


 Recipients must comply with these conditions under Executive Order 13513,
 “Federal Leadership on Reducing Text Messaging While Driving,” October 1,
 2009.




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           REGISTRATION OF UNIQUE ENTITY IDENTIFIER (UEI) NUMBER AND TAXPAYER
        IDENTIFICATION NUMBER (TIN) IN THE SYSTEM FOR AWARD MANAGEMENT (SAM)


The U.S. Department of Education (Department) Grants Management System (G5) disburses payments
via the U.S. Department of Treasury (Treasury). The U.S. Treasury requires that we include your Tax
Payer Identification Number (TIN) with each payment. Therefore, in order to do business with the
Department you must have a registered Unique Entity Identifier (UEI) and TIN number with the SAM,
the U.S. Federal Government’s primary registrant database. If the payee UEI number is different than
your grantee UEI number, both numbers must be registered in the SAM. Failure to do so will delay the
receipt of payments from the Department.

A TIN is an identification number used by the Internal Revenue Service (IRS) in the administration of tax
laws. It is issued either by the Social Security Administration (SSA) or by the IRS. A Social Security
number (SSN) is issued by the SSA whereas all other TINs are issued by the IRS.

The following are all considered TINs according to the IRS.

    •    Social Security Number "SSN"
    •    Employer Identification Number "EIN"
    •    Individual Taxpayer Identification Number "ITIN"
    •    Taxpayer Identification Number for Pending U.S. Adoptions "ATIN"
    •    Preparer Taxpayer Identification Number "PTIN"

If your UEI number is not currently registered with the SAM, you can easily register by going to
www.sam.gov. Please allow 3-5 business days to complete the registration process. If you need a new
TIN, please allow 2-5 weeks for your TIN to become active. If you need assistance during the
registration process, you may contact the SAM Federal Service Desk at 866-606-8220.

If you are currently registered with SAM, you may not have to make any changes. However, please take
the time to validate that the TIN associated with your UEI is correct.

If you have any questions or concerns, please contact the G5 Hotline at 888-336-8930.




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      SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS

1. Requirement for System for Award Management (SAM)

Unless you are exempted from this requirement under 2 CFR 25.110, you are, in accordance with your
grant program's Notice Inviting Applications, required to maintain an active SAM registration with
current information about your organization, including information on your immediate and highest level
owner and subsidiaries, as well as on all predecessors that have been awarded a Federal contract or
grant within the last three years, if applicable, at all times during which you have an active Federal
award or an application or plan under consideration by a Federal awarding agency. To remain
registered in the SAM database after your initial registration, you are required to review and update
your information in the SAM database on an annual basis from the date of initial registration or
subsequent updates to ensure it is current, accurate and complete.


2. Requirement for Unique Entity Identifier (UEI) Numbers

If you are authorized to make subawards under this award, you:

1. Must notify potential subrecipients that they may not receive a subaward from you unless they
   provided their UEI number to you.
2. May not make a subaward to a subrecipient when the subrecipient fails to provide its UEI number to
   you.

3. Definitions

For purposes of this award term:

1. System for Award Management (SAM) means the Federal repository into which a recipient must
   provide information required for the conduct of business as a recipient. Additional information
   about registration procedures may be found at the SAM internet site (currently at
   https://www.sam.gov).

2. Unique Entity Identifier (UEI) means the identifier assigned by SAM registration to uniquely identify
   business entities.

3. Recipient means a non-Federal entity that receives a Federal award directly from a Federal awarding
   agency to carry out an activity under a Federal program. The term recipient does not include
   subrecipients. See 2 CFR 200.86.

4. Subaward means an award provided by a pass-through entity to a subrecipient for the subrecipient
   to carry out part of a Federal award received by the pass-through entity. It does not include
   payments to a contractor or payments to an individual that is a beneficiary of a Federal program. A
   subaward may be provided through any form of legal agreement, including an agreement that the
   pass-through entity considers a contract. See 2 CFR 200.92.

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5. Subrecipient means a non-Federal entity that receives a subaward from a pass-through entity to
   carry out part of a Federal program; but does not include an individual that is a beneficiary of such
   program. A subrecipient may also be a recipient of other Federal awards directly from a Federal
   awarding agency. See 2 CFR 200.93.




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KEY FINANCIAL MANAGEMENT REQUIREMENTS FOR DISCRETIONARY GRANTS
             AWARDED BY THE DEPARTMENT OF EDUCATION

The Department expects grantees to administer Department grants in accordance with
generally accepted business practices, exercising prudent judgment so as to maintain
proper stewardship of taxpayer dollars. This includes using fiscal control and fund
accounting procedures that insure proper disbursement of and accounting for Federal
funds. In addition, grantees may use grant funds only for obligations incurred during
the funding period.

Title 2 of the Code of Federal Regulations Part 200, “Uniform Administrative
Requirements, Cost Principles, and Audit Requirements for Federal Awards,” establishes
requirements for Federal awards made to non-Federal entities. The Education
Department General Administrative Regulations in 34 CFR (EDGAR) 75, 76, 77, 79, 81,
82, 84, 86, 97, 98, and 99 contain additional requirements for administering
discretionary grants made by this Department. The most recent version of these
regulations may be accessed at the following URLs:

The Education Department General Administrative Regulations (EDGAR)

2 CFR Part 200 Uniform Administrative Requirements, Cost Principles, and Audit
Requirements for Federal Awards

The information on page 2, "Selected Topics in Administering Department Discretionary
Grants," highlights major administrative requirements of 2 CFR Part 200. In addition, a
few of the topics discuss requirements that the Department imposes on its discretionary
grantees under EDGAR, Part 75 (Direct Grants). The specific sections of 2 CFR Part 200
and of EDGAR that address the topics discussed are shown in parentheses. The
Department urges grantees to read the full text of these and other topics in EDGAR and
in 2 CFR Part 200.

Grantees are reminded that a particular grant might be subject to additional
requirements of the authorizing statute for the program that awarded the grant and/or
any regulations issued by the program office. Grantees should become familiar with
those requirements as well, because program-specific requirements might differ from
those in 2 CFR Part 200 and in EDGAR.

The Department recommends that the project director and the fiscal management staff
of a grantee organization communicate frequently with each other about the grant
budget. Doing so will help to assure that you use Federal funds only for those
expenditures associated with activities that conform to the goals and objectives
approved for the project.

Grantees may direct any questions regarding the topics discussed on page 2, "Selected
Topics in Administering Department Discretionary Grants,"or about any other aspect of
administering your grant award to the Department program staff person named in Block
3 of the Grant Award Notification.


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      SELECTED TOPICS IN ADMINISTERING DEPARTMENT DISCRETIONARY GRANTS

I.      Financial Management Systems (2 CFR Part 200.302)

In general, grantees are required to have financial management systems that:

           provide for accurate, current, and complete disclosure of results regarding
            the use of funds under grant projects;
           provide adequate source documentation for Federal and non-Federal funds
            used under grant projects;
           contain procedures to determine the allowability, allocability, and
            reasonableness of obligations and expenditures made by the grantee; and
           enable the grantee to maintain effective internal control and fund
            accountability procedures, e.g., requiring separation of functions so that the
            person who makes obligations for the grantee is not the same person who
            signs the checks to disburse the funds for those obligations.

State systems must account for funds in accordance with State laws and procedures that
apply to the expenditure of and the accounting for a State's own funds. A State's
procedures, as well as those of its subrecipients and cost-type contractors, must be
sufficient to permit the preparation of reports that may be required under the award as
well as provide the tracing of expenditures to a level adequate to establish that award
funds have not been used in violation of any applicable statutory restrictions or
prohibitions.

II.     Federal Payment (2 CFR Part 200.305)

Under this part --

           the Department pays grantees in advance of their expenditures if the
            grantee demonstrates a willingness and ability to minimize the time
            between the transfer of funds to the grantee and the disbursement of the
            funds by the grantee;
           grantees repay to the Federal government interest earned on advances; and
           grantees, generally, must maintain advance payments of Federal awards in
            interest bearing accounts.


In general, grantees should make payment requests frequently, only for small
amounts sufficient to meet the cash needs of the immediate future.

The Department has recently encountered situations where grantees failed to request
funds until long after the grantee actually expended its own funds for the costs of its
grant. Grantees need to be aware that, by law, Federal funds are available for grantees
to draw down for only a limited period of time, after which the funds revert to the U.S.
Treasury. In some cases grantees have requested funds too late for the Department to
be able to pay the grantees for legitimate costs incurred during their project periods.


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The Department urges financial managers to regularly monitor requests for payment
under their grants to assure that Federal funds are drawn from the Department G5
Payment System at the time those funds are needed for payments to vendors and
employees.

III.    Personnel (EDGAR §§ 75.511-75.519 and 2 CFR Part 200 Subpart D and E)

The rules governing personnel costs are located in EDGAR Part 75 and 2 CFR Part 200
Subparts D and E. Part 75 covers issues such as paying consultants with grant funds,
prohibiting dual compensation of staff, and waiving the requirement for a full-time
project director. The rules clarifying changes in key project staff are located in 2 CFR
Part 200.308 (c)(2). General rules governing reimbursement of salaries and
compensation for staff working on grant projects are addressed in the cost principles in
2 CFR Part 200 Subpart D and E. In all cases, payments of any type to personnel must be
supported by complete and accurate records of employee time and effort. For those
employees that work on multiple functions or separately funded programs or projects,
the grantee must also maintain time distribution records to support the allocation of
employee salaries among each function and separately funded program or project.

IV.     Cost Principles (2 CFR Part 200 Subpart E)

All costs incurred under any grant are subject to the cost principles found in 2 CFR Part
200 Subpart E. The cost principles provide lists of selected items of allowable and
unallowable costs, and must be used in determining the allowable costs of work
performed under the grant.

V.      Procurement Standards (2 CFR Part 200.317-327)

Under 2 CFR Part 200.317, States are required to follow the procurement rules the
States have established for purchases funded by non-Federal sources. When procuring
goods and services for a grant’s purposes, all other grantees may follow their own
procurement procedures, but only to the extent that those procedures meet the
minimum requirements for procurement specified in the regulations. These
requirements include written competition procedures and codes of conduct for grantee
staff, as well as requirements for cost and price analysis, record-keeping and contractor
compliance with certain Federal laws and regulations. These regulations also require
grantees to include certain conditions in contracts and subcontracts, as mandated by
the regulations and statutes.

VI.     Indirect Costs (EDGAR §§75.560-564 and 2 CFR Part 200.414)

In addition to the information presented beslow, see GAN ATTACHMENT 4 for addional
information including restrictions related to temporary, de minimis, training, restricted,
and program prescribed indirect cost rates.

A. Unrestricted Indirect Cost Rate

To utilize an unrestricted indirect cost rate, a grantee must have an indirect cost agreement with
its cognizant agency, submit an indirect cost rate proposal to its cognizant agency for indirect

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costs (cognizant agency) within 90 days after the award of this grant or elect to utilize the de
minimis rate under 2 CFR § 200.414(f) or the temporary indirect cost rate (subject to limitations
described below).

The grantee must provide proof of its negotiated indirect cost rate agreement to the
Department as soon as it has signed such an agreement with its cognizant agency.

B. Temporary Indirect Cost Rate

A grantee that does not have a current negotiated indirect cost rate agreement may recover
indirect costs at a temporary rate, which is limited to 10% of budgeted direct salaries and wages
(See 34 CFR § 75.560(c)); or it may choose not to charge indirect costs to the grant. The
temporary rate can only be used for 90 days unless the exceptional circumstances apply under
34 CFR § 75.560(d)(2).

If the grantee has not submitted its indirect cost proposal to its cognizant agency within the 90-
day period, it may no longer recover indirect costs utilizing the temporary indirect cost rate until
it has negotiated an indirect cost rate agreement with its cognizant agency. Once a grantee
obtains a federally recognized indirect cost rate that is applicable to this grant, the grantee may
use that indirect cost rate to claim indirect cost reimbursement.

C. De minimis Indirect Cost Rate

Institutions of Higher Education (IHEs), federally-recognized Indian Tribes, State and Local
Governments1 receiving less than $35 million in direct federal funding, and nonprofit
organizations, if they do not have a current negotiated (including provisional) rate, and are not
subject to the Department’s training rate or restricted rate (supplement-not-supplant
provisions) may elect to charge a de minimis indirect cost rate of 10% of modified total direct
costs (MTDC). This rate may be used indefinitely.

MTDC consists of all direct salaries and wages, applicable fringe benefits, materials and supplies,
services, travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
subgrant). MTDC excludes equipment, capital expenditures, charges for patient care, rental
costs, tuition remission, scholarships and fellowships, participant support costs and the portion
of each subaward in excess of $25,000. Other items, including contract costs in excess of
$25,000, may be excluded when necessary to avoid a serious inequity in the distribution of
indirect costs (see definition of MTDC at 2 CFR § 200.1).

Additionally, the de minimis rate may not be used by grantees that are subject to the
Department’s training indirect cost rate (34 CFR § 75.562) or restricted indirect cost rate. The de
minimis rate may be used indefinitely. However, if a grantee chooses to use the de minimis rate
to recover indirect costs, it must do so for all of its Federal awards until such time as the grantee
negotiates an indirect cost rate with its cognizant agency. Once a grantee obtains a federally
recognized indirect cost rate that is applicable to this grant, the grantee may use that indirect
cost rate to claim indirect cost reimbursement.

1
 Note that a State-funded institution of higher education is not considered a “State government” for
these purposes.


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D. Programs with a Supplement-not-supplant requirement (restricted indirect cost rate)

A restricted program (i.e., programs with statutory supplement-not-supplant requirements)
grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 – 76.569, is
not less than 8% MTDC. A State or local government2 that is a restricted program grantee may
not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
negotiated.

E. Training Grant Indirect Cost Rate

If the grantee is a training grant recipient and is not a State, local, or Tribal government3, the
grantee must negotiate a rate under 34 CFR 75.562. This provision limits indirect cost recovery
to 8% of modified total direct costs or the grantees negotiated indirect cost rate, whichever is
less.

The recovery using the training grant indirect cost rate is subject to the following limitations:

     i.    The lesser of the 8% indirect cost rate or negotiated indirect cost rate also applies to
           sub-awards that fund training.
     ii.   The 8% limit does not apply to agencies of Indian tribal governments, local
           governments, and States as defined in 2 CFR § 200.1, respectively.
    iii.   Indirect costs in excess of the 8% limit may not be charged directly, used to satisfy
           matching or cost-sharing requirements, or charged to another Federal award.
    iv.    A grantee using the training rate of 8% is required to have documentation available for
           audit that shows that its negotiated indirect cost rate is at least 8%.

F. Program-Specific Indirect Cost Rate

Grantees are required to follow program-specific statutory or regulatory requirements that
mandate either indirect cost rate type or maximum administrative costs recovery instead of the
general requirements described here.

VII.       Audit Requirements (2 CFR Part 200 Subpart F)

2 CFR 200 Subpart F requires that grantees that are non-Federal entities (a State, local
government, Indian tribe, IHE, or nonprofit organization that carries out a Federal award
as a recipient or subrecipient) obtain a non-Federal audit of their expenditures under
their Federal grants if the grantee expends more than $750,000 in Federal funds in one
fiscal year. 2 CFR Part 200 Subpart F contains the requirements imposed on grantees for

2
  Note that a State-funded institution of higher education is not considered a “State government” for
these purposes.
3
  Note that a State-funded institution of higher education is not considered a “State government” for
these purposes; and a Tribal college or university funded by a federally-recognized Tribe is not considered
a Tribe for these purposes.

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audits done in connection with the law.

The Department recommends hiring auditors who have specific experience in auditing
Federal awards under the regulations and the Compliance Supplement.

VIII.   Other Considerations

Some other topics of financial management covered in 2 CFR Part 200 that might affect
particular grants include program income (2 CFR Part 200.307), cost sharing or matching
(2 CFR Part 200.306), property management requirements for equipment and other
capital expenditures (2 CFR Parts 200.313, 200.439).




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                         MEMORANDUM TO ED DISCRETIONARY GRANTEES

You are receiving this memorandum to remind you of Federal requirements, found in 2 CFR Part 200, Uniform
Administrative Requirements, Cost Principles, and Audit Requirements, regarding cash drawdowns under your
grant account.

For any cash that you draw from your Department of Education (the Department) grant account, you
must:

•    draw down only as much cash as is necessary to meet the immediate needs of the grant project;
•    keep to the minimum the time between drawing down the funds and paying them out for grant
             activities; and
•    return to the Government the interest earned on grant funds deposited in interest-bearing bank
     accounts except for a small amount of interest earned each year that your entity is allowed to keep to
     reimburse itself for administrative expenses).

In order to meet these requirements, you are urged to:

•    take into account the need to coordinate the timing of drawdowns with prior internal clearances (e.g., by
     boards, directors, or other officials) when projecting immediate cash needs so that funds drawn down
     from ED do not stay in a bank account for extended periods of time while waiting for approval;
•    monitor the fiscal activity (drawdowns and payments) under your grant on a continuous basis;
•    plan carefully for cash flow in your grant project during the budget period and review project cash
     requirements before each drawdown; and
•    pay out grant funds for project activities as soon as it is practical to do so after receiving cash from the
     Department.

Keep in mind that the Department monitors cash drawdown activity for all grants. Department staff will
contact grantees who appear to have drawn down excessive amounts of cash under one or more grants
during the fiscal quarter to discuss the particular situation. For the purposes of drawdown monitoring, the
Department will contact grantees who have drawn down 50% or more of the grant in the first quarter,
80% or more in the second quarter, and/or 100% of the cash in the third quarter of the budget period.
However, even amounts less than these thresholds could still represent excessive drawdowns for your
particular grant activities in any particular quarter. Grantees determined to have drawn down excessive
cash will be required to return the excess funds to the Department, along with any associated earned
interest, until such time as the money is legitimately needed to pay for grant activities. If you need
assistance with returning funds and interest, please contact the Department’s G5 Hotline by calling 1-888-
336-8930.

Grantees that do not follow Federal cash management requirements and/or consistently appear on the
Department's reports of excessive drawdowns could be:

•    subjected to specific award conditions or designated as a "high-risk" grantee [2 CFR Part 200.208
     and 2 CFR 3474.10], which could mean being placed on a "cash-reimbursement" payment method
     (i.e., a grantee would experience the inconvenience of having to pay for grant activities with its
     own money and waiting to be reimbursed by the Department afterwards);
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•   subject to further corrective action;
•   denied selection for funding on future ED grant applications [EDGAR 75.217(d)(3)(ii)]; and/or
•   debarred or suspended from receiving future Federal awards from any executive agency of the Federal
    government.

You are urged to read 2 CFR Part 200.305 to learn more about Federal requirements related to grant payments
and to determine how to apply these requirements to any subgrantees. You are urged to make copies of this
memorandum and share it with all affected individuals within your organization.




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                    THE USE OF GRANT FUNDS FOR CONFERENCES AND MEETINGS

You are receiving this memorandum to remind you that grantees must take into account the following factors when
considering the use of grant funds for conferences and meetings:
       • Before deciding to use grant funds to attend or host a meeting or conference, a grantee should:
               o Ensure that attending or hosting a conference or meeting is consistent with its approved
                    application and is reasonable and necessary to achieve the goals and objectives of the grant;
               o Ensure that the primary purpose of the meeting or conference is to disseminate technical
                    information, (e.g., provide information on specific programmatic requirements, best
                    practices in a particular field, or theoretical, empirical, or methodological advances made in
                    a particular field; conduct training or professional development; plan/coordinate the work
                    being done under the grant); and
               o Consider whether there are more effective or efficient alternatives that can accomplish the
                    desired results at a lower cost, for example, using webinars or video conferencing.
       • Grantees must follow all applicable statutory and regulatory requirements in determining whether
           costs are reasonable and necessary, especially the Cost Principles for Federal grants set out at 2 CFR
           Part 200 Subpart E of the, “Uniform Administrative Requirements, Cost Principles, and Audit
           Requirements for Federal Awards.” In particular, remember that:
               o Federal grant funds cannot be used to pay for alcoholic beverages; and
               o Federal grant funds cannot be used to pay for entertainment, which includes costs for
                    amusement, diversion, and social activities.
       • Grant funds may be used to pay for the costs of attending a conference. Specifically, Federal grant
           funds may be used to pay for conference fees and travel expenses (transportation, per diem, and
           lodging) of grantee employees, consultants, or experts to attend a conference or meeting if those
           expenses are reasonable and necessary to achieve the purposes of the grant.
               o When planning to use grant funds for attending a meeting or conference, grantees should
                    consider how many people should attend the meeting or conference on their behalf. The
                    number of attendees should be reasonable and necessary to accomplish the goals and
                    objectives of the grant.
       • A grantee hosting a meeting or conference may not use grant funds to pay for food for conference
           attendees unless doing so is necessary to accomplish legitimate meeting or conference business.
               o A working lunch is an example of a cost for food that might be allowable under a Federal
                    grant if attendance at the lunch is needed to ensure the full participation by conference
                    attendees in essential discussions and speeches concerning the purpose of the conference
                    and to achieve the goals and objectives of the project.
       • A meeting or conference hosted by a grantee and charged to a Department grant must not be
           promoted as a U.S. Department of Education conference. This means that the seal of the U.S.
           Department of Education must not be used on conference materials or signage without Department
           approval.




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        o   All meeting or conference materials paid for with grant funds must include appropriate
            disclaimers, such as the following:
                The contents of this (insert type of publication; e.g., book,
                report, film) were developed under a grant from the
                Department of Education. However, those contents do not
                necessarily represent the policy of the Department of
                Education, and you should not assume endorsement by the
                Federal Government.
•   Grantees are strongly encouraged to contact their project officer with any questions or concerns
    about whether using grant funds for a meeting or conference is allowable prior to committing grant
    funds for such purposes.
        o A short conversation could help avoid a costly and embarrassing mistake.
•   Grantees are responsible for the proper use of their grant awards and may have to repay funds to
    the Department if they violate the rules on the use of grant funds, including the rules for meeting-
    and conference-related expenses.




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     MEMORANDUM TO REMIND DEPARTMENT OF EDUCATION GRANTEES OF EXISTING CASH
               MANAGEMENT REQUIREMENTS CONCERNING PAYMENTS

The Department of Education (Department) requires that its grantees adhere to existing cash
management requirements concerning payments and will ensure that their subgrantees are also aware
of these policies by providing them relevant information. A grantee’s failure to comply with cash
management requirements may result in an improper payment determination by the Department in
accordance with the Payment Integrity Information Act (PIIA) of 2019.

There are three categories of payment requirements that apply to the drawdown of funds from grant
accounts at the Department. The first two types of payments are subject to the requirements in the
Treasury Department regulations implementing the Cash Management Improvement Act (CMIA) of
1990, 31 U.S.C.6513, and the third is subject to the requirements in the Uniform Administrative
Requirements, Cost Principles, and Audit Requirements for Federal Awards (Uniform Guidance) at 2 CFR
part 200,1 as follows:

    1.     Payments to a State under programs that are covered by a State’s Treasury State Agreement
           (TSA);

    2.     Payments to States under programs that are not covered by a TSA; and

    3.     Payments to other non-Federal entities, including nonprofit organizations and local
           governments.

CMIA Requirements Applicable to Programs included in a TSA

Generally, under the Treasury Department regulations implementing the CMIA, only major assistance
programs (large-dollar programs meeting thresholds in 31 CFR § 205.5) are included in a State’s written
TSA. See 31 CFR § 205, subpart A. Programs included in a TSA must use approved funding techniques
and both States and the Federal government are subject to interest liabilities for late payments. State
interest liabilities accrue from the day federal funds are credited to a State account to the day the State
pays out the federal funds for federal assistance program purposes. 31 CFR § 205.15. If a State makes a
payment under a Federal assistance program before funds for that payment have been transferred to
the State, Federal Government interest liabilities accrue from the date of the State payment until the
Federal funds for that payment have been deposited to the State account. 31 CFR § 205.14.

CMIA Requirements Applicable to Programs Not Included in a TSA

Payments to States under programs not covered by a State’s TSA are subject to subpart B of Treasury’s
regulations in 31 CFR § 205. These regulations provide that a State must minimize the time between the
drawdown of funds from the federal government and their disbursement for approved program
activities. The timing and amount of funds transfers must be kept to a minimum and be as close as is
administratively feasible to a State’s actual cash outlay for direct program costs and the proportionate
share of any allowable indirect costs. 31 CFR § 205.33(a). States should exercise sound cash
management in funds transfers to subgrantees.

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    The Department adopted the Uniform Guidance as regulations of the Department at 2 CFR part 3474.

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Under subpart B, neither the States nor the Department owe interest to the other for late payments. 31
CFR § 205.33(b). However, if a State or a Federal agency is consistently late in making payments,
Treasury can require the program to be included in the State’s TSA. 31 CFR § 205.35.

Fund transfer requirements for grantees other than State governments and subgrantees

The transfer of Federal program funds to grantees other than States and to subgrantees are subject to
the payment and interest accrual requirements in the Uniform Guidance at 2 CFR § 200.305(b). These
requirements are like those in subpart B of the Treasury Department regulations in 31 CFR part 205,
requiring that “payments methods must minimize the time elapsing between the transfer of funds from
the United States Treasury or the pass-through entity and the disbursement by the non-Federal entity.”
2 CFR § 200.305(b) introduction.

The Federal Government and pass-through entities must make payments in advance of expenditures by
grantees and subgrantees if these non-Federal entities maintain, or demonstrate the willingness to
maintain, written procedures “that minimize the time elapsing between the transfer of funds and
disbursement by the non-Federal entity, and financial management systems that meet the standards for
fund control and accountability.” 2 CFR § 200.305(b)(1). If a grantee or subgrantee cannot meet the
criteria for advance payments, a Federal agency or pass-through entity can pay that entity through
reimbursement. See 2 CFR § 200.305(b)(1) and (4) for more detailed description of the payment
requirements and the standards for requiring that payments be made by reimbursement.

Non-Federal entities must maintain advance payments in interest bearing accounts unless certain
conditions exist. See 2 CFR § 200.305(b)(8) for those conditions. The requirements regarding interest
accrual and remittance follow:

Grantees and subgrantees must annually remit interest earned on federal advance payments except
that interest earned amounts up to $500 per year may be retained for administrative expense. Any
additional interest earned on Federal advance payments deposited in interest-bearing accounts must be
remitted annually to the Department of Health and Human Services Payment Management System
(PMS) through an electronic medium using either Automated Clearing House (ACH) network or a
Fedwire Funds Service payment. 2 CFR § 200.305(b)(9)(i) and (ii).

  1.     When returning interest through ACH Direct Deposit or Fedwire, grantees must include the
         following in their return transaction:

                 •   PMS Account Number (PAN). NOTE: The PAN is the same series of alpha-numeric
                     characters used for payment request purposes (e.g.: C1234G1).
                 •   PMS document number.
                 •   The reason for the return (e.g., interest, part interest part other, etc.).
                 •   An explanation stating that the refund is for interest payable to the Department of
                     Health and Human Services, and the grant number(s) for which the interest was
                     earned.

         a. U.S. Department of Education grantees are generally located and operate domestically and
            return interest domestically. Below is PSC ACH account information for interest returned



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             domestically. For international ACH interest returned, account information is available at:
             Returning Funds/Interest.

                  •   PSC ACH Routing Number is: 051036706
                  •   PSC DFI Accounting Number: 303000
                  •   Bank Name: Credit Gateway - ACH Receiver
                  •   Location: St. Paul, MN

         b. Service charges may be incurred from a grantee’s financial institution when a Fedwire to
            return interest is initiated. For FedWire returns, Fedwire account information is as follows:

                  •   Fedwire Routing Number: 021030004
                  •   Agency Location Code (ALC): 75010501
                  •   Bank Name: Federal Reserve Bank
                  •   Treas NYC/Funds Transfer Division
                  •   Location: New York, NY

  2.     Interest may be returned by check using only the U.S. Postal Service; however, returning
         interest via check may take 4-6 weeks for processing before a check payment may be applied to
         the appropriate PMS account.

         a. Interests returned by check are to be mailed (USPS only) to:

                  •   HHS Program Support Center
                      PO Box 979132
                      St. Louis, MO 63197

             A brief statement explaining the nature of the return must be included.

         b. To return interest on a grant not paid through the PMS, make the check payable to the
            Department of Health and Human Services, and include the following with the check:

                  •   An explanation stating that the refund is for interest
                  •   The name of the awarding agency
                  •   The grant number(s) for which the interest was earned
                  •   The return should be made payable to: Department of Health and Human Services.

  3.     For detailed information about how to return interest, visit the PSC Retuning Funds/Interest
         page at: Returning Funds/Interest

Grantees, including grantees that act as pass-through entities and subgrantees have other
responsibilities regarding the use of Federal funds. For example, all grantees and subgrantees must
have procedures for determining the allowability of costs for their awards. We highlight the following
practices related to the oversight of subgrantee compliance with the financial management
requirements in the Uniform Guidance that will assist State grantees (pass-through entities) in meeting
their monitoring responsibilities. Under 2 CFR § 200.332, pass-through entities must –




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  1.     Evaluate each subrecipient's risk of noncompliance with Federal statutes, regulations, and the
         terms and conditions of the subaward for purposes of determining the appropriate subrecipient
         monitoring.

  2.     Monitor the performance and fiscal activities of the subrecipient to ensure that the subaward is
         used for authorized purposes, in compliance with Federal statutes, regulations, and the terms
         and conditions of the subaward; and that subaward performance goals are achieved.

A small number of Department grant programs have program-specific cash management and payment
requirements based on the authorizing legislation or program regulations. These program-specific
requirements may supplement or override general cash management or payment requirements. If you
have any questions about your specific grant, please contact the Education Program Contact listed in
Block 3 of your Grant Award Notification.




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    RECIPIENTS OF DEPARTMENT OF EDUCATION GRANTS AND COOPERATIVE AGREEMENTS
                  FREQUENTLY ASKED QUESTIONS ON CASH MANAGEMENT


Q     What are the Federal Laws and Regulations Regarding Payments to the States?
A     The Cash Management Improvement Act of 1990 (CMIA) establishes interest liabilities for the
      Federal and State governments when the Federal Government makes payments to the States.
      See 31 U.S.C. 3335 and 6503. The implementing regulations are in Title 31 of the Code of
      Federal Regulations (CFR), Part 205, https://www.ecfr.gov/cgi-bin/text-
      idx?tpl=/ecfrbrowse/Title31/31cfr205_main_02.tpl. Non-Federal entities other than States
      follow the rules on Federal payments set out in 2 CFR 200.305.

Q     What is a Treasury-State Agreement (TSA)?
A     A TSA documents the accepted funding techniques and methods for calculating interest agreed
      upon by the U.S. Department of the Treasury (Treasury) and a State. It identifies the Federal
      assistance programs that are subject to interest liabilities under the CMIA. The CMIA regulations
      specify a number of different funding techniques that may be used by a State but a State can
      negotiate with the Treasury Department to establish a different funding technique for a
      particular program. A TSA is effective until terminated and, if a state does not have a TSA,
      payments to the State are subject to the default techniques in the regulations that Treasury
      determines are appropriate.

Q     What are the CMIA requirements for a program subject to a Treasury-State Agreement?
A     Payments to a State under a program of the Department are subject to the interest liability
      requirements of the CMIA if the program is included in the State’s Treasury-State Agreement
      (TSA) with the Department of Treasury. If the Federal government is late in making a payment to
      a State, it owes interest to the State from the time the State spent its funds to pay for
      expenditure until the time the Federal government deposits funds to the State’s account to pay
      for the expenditure. Conversely, if a State is late in making a payment under a program of the
      Department, the State owes interest to the Federal government from the time the Federal
      government deposited the funds to the State’s account until the State uses those funds to make
      a payment. For more information, GAN Enclosure 4.


Q     What are the CMIA requirements for a program that is not subject to a Treasury-State
      Agreement?
A     If a program is not included in the State’s TSA, neither the State nor the Federal government are
      liable for interest for making late payments. However, both the Federal government and the
      State must minimize the time elapsing between the date the State requests funds and the date
      that the funds are deposited to the State’s accounts. The State is also required to minimize the
      time elapsed between the date it receives funds from the Federal government and the date it
      makes a payment under the program, Also, the Department must minimize the amount of funds
      transferred to a State to only that needed to meet the immediate cash needs of the State. The
      timing and amount of funds transferred must be as close as is administratively feasible to a
      State's actual cash outlay for direct program costs and the proportionate share of any allowable
      indirect costs.
Q     What if there is no TSA?


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A   When a State does not have a TSA in effect, default procedures in 31 CFR, part 205 that the
    Treasury Department determines appropriate apply. The default procedures will prescribe
    efficient funds transfer procedures consistent with State and Federal law and identify the
    covered Federal assistance programs and designated funding techniques.


Q    Who is responsible for Cash Management?
A    Grantees and subgrantees that receive grant funds under programs of the Department are
     responsible for maintaining internal controls regarding the management of Federal program
     funds under the Uniform Guidance in 2 CFR 200.302 and 200.303. In addition, grantees are
     responsible for ensuring that subgrantees are aware of the cash management and requirements
     in 2 CFR part 200, subpart D.

Q    Who is responsible for monitoring cash drawdowns to ensure compliance with cash
     management policies?
A    Recipients must monitor their own cash drawdowns and those of their subrecipients to assure
     substantial compliance to the standards of timing and amount of advances.

Q    How soon may I draw down funds from the G5 grants management system?
A    Grantees are required to minimize the amount of time between the drawdown and the
     expenditure of funds from their bank accounts. (See 2 CFR 200.305(b).) Funds must be drawn
     only to meet a grantee’s immediate cash needs for each individual grant. The G5 screen displays
     the following message:

     By submitting this payment request, I certify to the best of my knowledge and belief that the
     request is based on true, complete, and accurate information. I further certify that the
     expenditures and disbursements made with these funds are for the purposes and objectives
     set forth in the applicable Federal award or program participation agreement, and that the
     organization on behalf of which this submission is being made is and will remain in compliance
     with the terms and conditions of that award or program participation agreement. I am aware
     that the provision of any false, fictitious, or fraudulent information, or the omission of any
     material fact, may subject me, and the organization on behalf of which this submission is being
     made, to criminal, civil, or administrative penalties for fraud, false statements, false claims, or
     other violations. (U.S. Code Title 18, Section 1001; Title 20, Section 1097; and Title 31, Sections
     3729-3730 and 3801-3812)

Q    How may I use Federal funds?
A    Federal funds must be used as specified in the Grant Award Notification (GAN) and the approved
     application or State plan for allowable direct costs of the grant and an allocable portion of
     indirect costs, if authorized.

Q    What are the consequences to recipients/subrecipients for not complying with terms of the
     grant award?
A    If a recipient or subrecipient materially fails to comply with any term of an award, whether
     stated in a Federal statute or regulation, including those in 2 CFR part 200, an assurance, the
     GAN, or elsewhere, the awarding agency may in accordance with 2 CFR 200.339 take one or
     more of the following actions:



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             1.   Temporarily withhold cash payments pending correction of the deficiency by the
                  non-Federal entity or more severe enforcement action by the Federal awarding
                  agency or pass-through entity.
             2.   Disallow (that is, deny both use of funds and any applicable matching credit for) all
                  or part of the cost of the activity not in compliance.
             3.   Wholly or partly suspend or terminate the Federal award.
             4.   Initiate suspension or debarment proceedings as authorized under 2 CFR part 180
                  and Federal award agency regulations (or in the case of a pass-through be initiated
                  by a Federal awarding agency).
             5.   Withhold further Federal awards for the project or program.
             6.   Take other remedies that may be legally available.




Q    Who is responsible for determining the amount of interest owed to the Federal government?
A    As set forth in 31 CFR 205.9, the method used to calculate and document interest liabilities is
     included in the State’s TSA. A non-State entity must maintain advances of Federal funds in
     interest-bearing accounts unless certain limited circumstance apply and remit interest earned on
     those funds to the Department of Health and Human Services, Payment Management System
     annually. See 2 CFR 200.305.
Q    What information should accompany my interest payment?
A    In accordance with 2 CFR 200.305(b)(9), interest in access of $500.00 earned on Federal advance
     payments deposited in interest-bearing accounts must be remitted annually to the Department
     of Health and Human Services Payment Management System (PMS) through an electronic
     medium using either Automated Clearing House (ACH) network or a Fedwire Funds Service
     payment.

     For returning interest on Federal awards paid through PMS, the refund should:
     (a) Provide an explanation stating that the refund is for interest;
     (b) List the PMS Payee Account Number(s) (PANs);
     (c) List the Federal award number(s) for which the interest was earned; and
     (d) Make returns payable to: Department of Health and Human Services.

     For returning interest on Federal awards not paid through PMS, the refund should:
     (a) Provide an explanation stating that the refund is for interest;
     (b) Include the name of the awarding agency;
     (c) List the Federal award number(s) for which the interest was earned; and
     (d) Make returns payable to: Department of Health and Human Services.

     For additional information about returning interest see GAN ATTACHMENT 4.

Q    Are grant recipients/subrecipients automatically permitted to draw funds in advance of the
     time they need to disburse funds in order to liquidate obligations?
A     The payment requirements in 2 CFR 200.305(b) authorize a grantee or subgrantee to request
     funds in advance of expenditures if certain conditions are met. However, if those conditions are
     not met, the Department and a pass-through agency may place a payee on reimbursement.



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Q    For formula grant programs such as ESEA Title I, for which States distribute funds to LEAs, may
     States choose to pay LEAs on a reimbursement basis?
A     A subgrantee must be paid in advance if it meets the standards for advance payments in 2 CFR
     200.305(b)(1) but if the subgrantee cannot meet those standards, the State may put the
     subgrantee on reimbursement payment. See 2 CFR 200.305(b).

Q    Will the Department issue special procedures in advance if G5 plans to shut down for 3 days or
     more?
A    Yes, before any shutdown of G5 lasting three days or more, the Department issues special
     guidance for drawing down funds during the shut down. The guidance will include cash
     management improvement act procedures for States and certain State institutions of higher
     education and procedures for grants (including Pell grants) that are not subject to CMIA.




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                 EXHIBIT C
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                      UNITED STATES DEPARTMENT OF EDUCATION
                  OFFICE OF SECONDARY AND ELEMENTARY EDUCATION
                              OFFICE OF ADMINISTRATION



2/12/25

Beverley J Bell
Project Director
UNIVERSITY OF MASSACHUSETTS
Furcolo, College of Ed, Rm S103
Amherst, MA 01003




                                                 RE: Grant Award Termination

Dear Beverley J Bell :

This letter provides notice that the United States Department of Education is terminating your
federal award, S336S230018           . See 2 C.F.R. § 200.340-43; see also 34 C.F.R. § 75.253.

It is a priority of the Department of Education to eliminate discrimination in all forms of education
throughout the United States. The Acting Secretary of Education has determined that, per the
Department’s obligations to the constitutional and statutory law of the United States, this priority
includes ensuring that the Department’s grants do not support programs or organizations that
promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other initiatives
that unlawfully discriminate on the basis of race, color, religion, sex, national origin, or another
protected characteristic. Illegal DEI policies and practices can violate both the letter and purpose
of Federal civil rights law and conflict with the Department’s policy of prioritizing merit, fairness,
and excellence in education. In addition to complying with the civil rights laws, it is vital that the
Department assess whether all grant payments are free from fraud, abuse, and duplication, as well
as to assess whether current grants are in the best interests of the United States.

The grant specified above provides funding for programs that promote or take part in DEI
initiatives or other initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
national origin, or another protected characteristic; that violate either the letter or purpose of
Federal civil rights law; that conflict with the Department’s policy of prioritizing merit, fairness,
and excellence in education; that are not free from fraud, abuse, or duplication; or that otherwise
fail to serve the best interests of the United States. The grant is therefore inconsistent with, and no
longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4); see also 34 C.F.R. §
75.253. Therefore, pursuant to, among other authorities, 2 C.F.R. § 200.339-43, 34 C.F.R. §
75.253, and the termination provisions in your grant award, the Department hereby terminates
grant No. S336S230018                  in its entirety effective 2/12/25        _.

                                       400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                       www.ed.gov

       The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                    fostering educational excellence and ensuring equal access.
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If you wish to object to or challenge this termination decision, you must submit information and
documentation supporting your position in writing within 30 calendar days of the date of this
termination notice. Objections and challenges must be sent by email and first-class mail and
addressed to the component head that oversees the grantmaking unit, which will typically be the
Assistant Secretary of that unit. In this case, please address your objection or challenge to Ruth
Ryder, Acting Assistant Secretary; Office of Elementary and Secondary Education; 400 Maryland
Ave., SW; Washington, D.C. 20202; ruth.ryder@ed.gov.

Your appeal should contain the following:
   1. a copy of the written notice of termination;
   2. the date you received written notice of termination;
   3. a brief statement of your argument and the disputed factual, legal, or other issues;
   4. the amount of funds or costs in dispute, if any; and
   5. any other relevant documents.

See id. § 200.342.

Costs incurred by you after this termination are allowable only if (a) those costs were properly
incurred by you before the effective date of this termination, and not in anticipation of it; and (b)
those costs would be allowable if your federal award was not suspended or expired normally at the
end of the period of performance in which the termination takes effect. See 2 C.F.R. § 200.343.
You are encouraged to carefully review and discharge your closeout responsibilities set forth in 2
C.F.R. § 200.344-45 and your award agreement. Those responsibilities include, but are not limited
to, your obligation to “promptly refund any unobligated funds” that have been paid out but “are
not authorized to be retained.” See 2 C.F.R. § 200.344(g). Failure to do so will result in the
Department filing a report documenting your “material failure to comply with the terms and
conditions of” this award on SAM.gov and taking any other appropriate enforcement actions. See
id. § 200.344(i).

Finally, you are reminded of your duties under your agreement and Department of Education
guidance regarding retention of grant records for at least three years.

Respectfully,
                   Digitally signed by MARK
MARK       WASHINGTON
WASHINGTON Date: 2025.02.12
           22:41:13 -05'00'



Deputy Assistant Secretary for Management and Planning

cc: Ruth Ryder




                                          400 MARYLAND AVE., S.W., WASHINGTON, DC 20202
                                                          www.ed.gov

       The Department of Education's mission is to promote student achievement and preparation for global competitiveness by
                                    fostering educational excellence and ensuring equal access.
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                 EXHIBIT D
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           S336S230018 - 24
           Beverley J Bell
           University of Massachusetts Amherst
           Coll: Education
           Furcolo, College of Ed, Rm S103
           Amherst, MA 01003
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        S336S230018 - 24

        Alene Denson
        University of Massachusetts Amherst
        Coll: Education
        Office of Research and Engagement
        Venture Way Center, 100 Venture Way, Suite 201
        Hadley, MA 01035
              Case 1:25-cv-10548-MJJ               Document 8-1          Filed 03/06/25      Page 123 of 126

                                           US Department of Education                                             S336S230018 - 24

                                             Washington, D.C. 20202

                                    GRANT AWARD NOTIFICATION

1 RECIPIENT NAME                                            2 AWARD INFORMATION
     University of Massachusetts Amherst                                PR/AWARD NUMBER          S336S230018 - 24
     Coll: Education                                                      ACTION NUMBER          5
     Office of Research and Engagement                                       ACTION TYPE         Administrative
     Venture Way Center, 100 Venture Way, Suite 201                          AWARD TYPE          Discretionary
     Hadley, MA 01035

3   PROJECT STAFF
                                                            4 PROJECT TITLE
     RECIPIENT PROJECT DIRECTOR                                     84.336S
        Beverley J Bell             (413) 695-2169                  Para-to-Teacher Program for Early Childhood Education
        bjbell@umass.edu                                            (ECE) Licensure in Massachusetts (Pre K-2)
     EDUCATION PROGRAM CONTACT
        Diana Schneider             (202) 401-1456
        diana.schneider@ed.gov
     EDUCATION PAYMENT HOTLINE
        G5 PAYEE HELPDESK           888-336-8930
        obssed@servicenowservices.com

5   KEY PERSONNEL

     NAME                           TITLE                                    LEVEL OF EFFORT
     Beverley J Bell                Project Director                                      9%

6 AWARD PERIODS
                  BUDGET PERIOD               10/01/2024 - 02/12/2025
             PERFORMANCE PERIOD               10/01/2023 - 02/12/2025

    FUTURE BUDGET PERIODS

    N/A


7 AUTHORIZED FUNDING
                               THIS ACTION                         N/A
                             BUDGET PERIOD                  $234,827.00
                        PERFORMANCE PERIOD                  $497,760.00


8 ADMINISTRATIVE INFORMATION
                   UEI          VGJHK59NMPK9
           REGULATIONS          EDGAR AS APPLICABLE
                                2 CFR AS APPLICABLE
          ATTACHMENTS           N/A


9   LEGISLATIVE AND FISCAL DATA

      AUTHORITY:                          PL P.L. 110-315 TITLE II HIGHER EDUCATION ACT, AS AMENDED
      PROGRAM TITLE:                      TEACHER QUALITY ENHANCEMENT GRANTS FOR STATE AND
                                          PARTNERSHIPS
      CFDA/SUBPROGRAM NO:                 84.336S
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                                                US Department of Education                                                    S336S230018 - 24

                                                  Washington, D.C. 20202

                                          GRANT AWARD NOTIFICATION

10       PR/AWARD NUMBER:                          S336S230018 - 24
         RECIPIENT NAME:                           University of Massachusetts Amherst
                                                   Coll: Education
         GRANTEE NAME:                             UNIVERSITY OF MASSACHUSETTS
                                                   101 COMMONWEALTH AVE,
                                                   AMHERST, MA 01003 - 9252
         PROGRAM INDIRECT COST TYPE:               Restricted
         PROJECT INDIRECT COST RATE:               8%

         TERMS AND CONDITIONS

            (1)   THE BUDGET PERIOD AND PERFORMANCE PERIOD FOR THIS PROJECT ARE CHANGED TO THE
                  DATES IN BLOCK 6. NO ADDITIONAL FUNDS ARE PROVIDED BY THIS ACTION.

            (2)   The grant is deemed to be inconsistent with, and no longer effectuates, Department priorities. See 2 C.F.R. 200.340(a)
                  (4); see also 34 C.F.R. 75.253.




                               PHYLLIS KNIGHT Digitally    signed by PHYLLIS KNIGHT
                               {{digsig1_es_:signer1:digitalsignature}}
                                                   Date: 2025.02.12 11:07:29 -05'00'


                                                          AUTHORIZING OFFICIAL                                               DATE


Ver. 1
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                   EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants              (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                         or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
       PR/AWARD NUMBER - A unique, identifying number assigned by the Department to each application. On funded applications, this is
                                  commonly known as the "grant number" or "document number." The PR/Award Number is also known as the
                                  Federal Award Identifying Number, or FAIN.
       ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                              the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
       ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
       AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                         or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                         DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                       responsible for project direction and oversight.
       *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                      the recipient to the U.S. Department of Education.
       EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                      administrative and businessmanagement concerns of the Department.
       EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                      concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                    associated subprogram number.
5. * KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
      BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                         approved activities and budget. The start and end dates of the budget period are shown.
      PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                  performance period may contain one or more budget periods.
      *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                       proposes it will award the recipient provided substantial progress is made by the recipient in
                                       completing approved activities, the Department determines that continuing the project would be in the
                                       best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                       recipient has submitted a performance report that provides the most current performance information
                                       and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
      *THIS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
       *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
       *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
       RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                              by the program legislation or regulations and/or terms and conditions of the award.
       RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                            the recipient's application. When non-federal funds are identified by the recipient where a
                                            cost share is not a legislation requirement, the recipient will be required to provide the non-
                                            federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                         managing the project in accordance with U.S. Department of Education procedures and
                                         regulations.
     UEI -      The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.
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      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                    funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (G5) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
        *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                        tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                        associated UEI is what is displayed in the SAM Public Search.
        *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                Training).
        *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
        *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
       CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
        PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
      CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
10. AFFILIATE - If an affiliate digital signature appears on this GAN, it is the digital signature belonging to the individual delegated the authority to
                affix the Authorizing Official's signature to the GAN.
* This item differs or does not appear on formula and block grants.
